Case: 1:15-cv-00605-MRB Doc #: 41-4 Filed: 01/26/16 Page: 1 of 60 PAGEID #: 3072




                                                 Exhibit 75, page 1
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                                                 Exhibit 75, page 2
Case: 1:15-cv-00605-MRB Doc #: 41-4 Filed: 01/26/16 Page: 3 of 60 PAGEID #: 3074




                                                 Exhibit 75, page 3
Case: 1:15-cv-00605-MRB Doc #: 41-4 Filed: 01/26/16 Page: 4 of 60 PAGEID #: 3075




                                                               Exhibit 76
     Case: 1:15-cv-00605-MRB         Doc #: 41-4 Filed: 01/26/16 Page: 5 of 60 PAGEID #: 3076
                             2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\



                                                                                                                   

    MAR 25, 2015                                                                         WOMEN & MEN: THE ISSUE


    Occidental Justice: The Disastrous
    Fallout When Drunk Sex Meets
    Academic Bureaucracy
    $GUXQNIUHVKPDQER\PHWDGUXQNIUHVKPDQJLUOLQWKLVGRUPDW
    2FFLGHQWDO&ROOHJH:KHQWKHLUVH[XDOHQFRXQWHUFROOLGHGZLWKD
    SDQLFNHGDQGSUHVVXUHGDFDGHPLFEXUHDXFUDF\LWTXLFNO\EHFDPH
    DGLVDVWHU
            BY RICHARD DORMENT


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    ESQUIRE + EMILY SHUR


    5HODWLRQVEHWZHHQWKHVH[HVKDYHJRWWHQDOLWWOHWHQVH6RLQ:RPHQ
KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH       Exhibit 77, page 1                           
     Case: 1:15-cv-00605-MRB         Doc #: 41-4 Filed: 01/26/16 Page: 6 of 60 PAGEID #: 3077
                             2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


    0HQDVSHFLDOVHFWLRQLQ(VTXLUH V$SULOLVVXHZHFDQGLGO\DGGUHVV
    DFRPSOLFDWHGTXHVWLRQWKDWZHVKRXOGDOOEHGLVFXVVLQJRSHQO\:KDWLV
    WKHVWDWHRIUHODWLRQVEHWZHHQWKHPHQDQGZRPHQRI$PHULFDWRGD\"

    0RUHIURPWKH:RPHQ 0HQVSHFLDOLVVXH

   ŀ 1LFN2IIHUPDQDQG&KHOVHD+DQGOHURQ0HQ:RPHQDQG*HQLWDOLD
   ŀ 2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV
      $FDGHPLF%XUHDXFUDF\
   ŀ 'R0HQDQG:RPHQ$JUHHRQ:KDW V2.:KHQ,W&RPHVWR6H["
   ŀ :ULWHUVRQ2XU&XUUHQW'LIILFXOWLHV
   ŀ 6WDONHG

    Ƃƃ

    BBBBBBBBBBBB

    2Q6HSWHPEHUWZRIUHVKPHQZHUHJHDULQJXSIRUWKHLUWKLUG
    6DWXUGD\QLJKWDW2FFLGHQWDO&ROOHJH7KHVPDOOOLEHUDODUWVVFKRROLQWKH
    (DJOH5RFNVHFWLRQRI/RV$QJHOHVZDVMXVWEHJLQQLQJLWVIDOOWHUPDQG
    DIWHUDQXQVHDVRQDEO\ZDUPGD\WKDWUDQZHOOLQWRWKHVWKHFDPSXV
    VHWWOHGLQWRRQHRIWKRVHFOHDUGHJUHHQLJKWVWKDWSHRSOHSODQWKHLU
    UHWLUHPHQWVDURXQG,QWKHVRXWKHDVWHUQFRUQHURIFDPSXVXQGHUWKHUHG
    WLOHURRIRI%UDXQ+DOOWKHKRXUVDKHDGRIIHUHGQRWKLQJEXWSRVVLELOLW\

                                                     ADVERTISEMENT - CONTINUE READING BELOW




KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH                Exhibit 77, page 2              
     Case: 1:15-cv-00605-MRB         Doc #: 41-4 Filed: 01/26/16 Page: 7 of 60 PAGEID #: 3078
                             2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


    7KHRQHIUHVKPDQ-RKQHLJKWHHQ\HDUVROGDQGDVOLPVL[RQHZDVJRRG
    DQGGUXQNE\VXQGRZQ+H GVWDUWHGGULQNLQJHDUOLHULQWKHGD\DVSDUWRI
    DIUHVKPDQMRFNLQLWLDWLRQ6KRWVFKXJJLQJVWXSLGKXPDQWULFNV²
    ERQGLQJDQGKDOORZHGULWXDOWRVRPHKD]LQJWRRWKHUV²OHIWKLPWRRGUXQN
    WRILQLVKWKHLQLWLDWLRQDQGDURXQG30DWHDPPDWHHVFRUWHGKLP
    EDFNWRWKHVHFRQGIORRURI%UDXQ+HZRXOGODWHUGHVFULEHWKDWQLJKWDV
    WKHGUXQNHVWKH VHYHUEHHQDQGDQHLJKERUIURPGRZQWKHKDOOZRXOG
    GHVFULEHKLVOHYHORILQWR[LFDWLRQDVDVKLWVKRZ+HZDVVOXUULQJKLV
    ZRUGVVWXPEOLQJRYHUWKHRWKHUVZKHQKHJRWXS7KDWNLQGRIGUXQN

    MORE FROM WOMEN & MEN: THE ISSUE




      NICK OFFERMAN AND CHELSEA HANDLER: THE                           STALKED: WHEN ONE MAN WOULDN'T GO AWAY
      ESQUIRE Q&A


    7KHRWKHUIUHVKPDQ-DQHRQHPRQWKVK\RIKHUHLJKWHHQWKELUWKGD\DQG
    DPHUHILYHIHHWWZRLQFKHVWDOOZDVUHERXQGLQJIURPWKHSUHYLRXVQLJKW V
    KDQJRYHUE\VKRRWLQJYRGNDDQGVLSSLQJVFUHZGULYHUVDWDVPDOOJDWKHULQJ
    LQDIULHQG VURRP$URXQGVKHDQGVRPHIULHQGVZHQWORRNLQJIRUD
    SDUW\RIIFDPSXVEXWRQFHKHUSUHSDUW\EX]]WXUQHGLQWRIXOOEORZQ
    IDOOLQJGRZQGUXQNHQQHVVVKHSDUWHGZD\VZLWKWKHJURXSDQGVWDUWHGWR
    PDNHKHUZD\EDFNWRKHUURRPRQWKHWKLUGIORRURI%UDXQ2QHRIWKH
    IULHQGVZKRKHOSHGJHWKHUEDFNWRWKHGRUPZRXOGODWHUVD\-DQHKDGD
    KDUGWLPHZDONLQJDQGXSRQVHHLQJDUHVLGHQWDGYLVRUVDLG,KDYHWRDFW

KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH           Exhibit 77, page 3                   
     Case: 1:15-cv-00605-MRB         Doc #: 41-4 Filed: 01/26/16 Page: 8 of 60 PAGEID #: 3079
                             2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


    QRUPDO7KDWNLQGRIGUXQN

    2QFHLQVLGHWKHGRUP-DQHUDQLQWR-RKQ VURRPPDWHZKRWROGKHUWKDW
    -RKQZDVKDYLQJDOLWWOHGDQFHSDUW\LQWKHLUURRP+HULQWHUHVWSLTXHG
    VKHZHQWLQWRWKHURRPDQGE\WKHWLPH-RKQ VURRPPDWHFDXJKWXSZLWK
    KHUDIHZVHFRQGVODWHU-RKQDQG-DQHZHUHHPEUDFLQJ7KHURRPPDWH
    SURPSWO\OHIW-RKQDQG-DQHDORQHDQGPLQXWHVODWHUWZRRI-DQH V
    IULHQGVZKR GEHHQZLWKKHUHDUOLHULQWKHHYHQLQJFDPHLQWRFKHFNRQKHU
    2QHRIWKHPZRXOGODWHUGHVFULEHWKHHQVXLQJKDOIKRXUDV-DQHWU\LQJWR
    NLVV-RKQDQGGDQFHZLWKKLP«DQG-RKQWU\LQJWRJHW>WKHWZRIULHQGV@
    WROHDYH7KDWIULHQGDOVRVDLGWKDW-DQHZDVJUDEELQJ-RKQDQGWU\LQJWR
    NLVVKLP«-RKQZDV VRPHZKDW UHVSRQVLYH«EXW DOVRVHHPHGSUHWW\
    LQGLIIHUHQW WR-DQH VDGYDQFHV>7KHIULHQG@REVHUYHGWKDW-RKQZDV QRW
    DWDOOJRLQJIRUKHU«LWZDVQRWOLNHKHZDVJUDEELQJKHUDQGSXOOLQJKHU
    RQWRWKHEHG (YHQWXDOO\DFFRUGLQJWR-DQH VRWKHUIULHQGLQWKHURRP
    -RKQDQG-DQHODLGGRZQWRJHWKHURQ-RKQ VEHGZLWK-DQHRQWRSRI
    -RKQ« JHWWLQJUHDOO\SK\VLFDO «>ZLWK-DQH@ NLQGRIULGLQJRQWRSRI
    -RKQ+HUKLSVZHUHPRYLQJ«,WORRNHGOLNHVRPHWKLQJVH[XDOZDVJRLQJ
    GRZQ +HUWZRIULHQGVFRQYLQFHG-DQHLWZDVWLPHWRJRKRPHEXWQRW
    EHIRUHVKHJDYH-RKQKHUQXPEHU 7KHFROOHJHZRXOGODWHUFRPPLVVLRQDQ
    LQTXLU\LQWRWKHHYHQWVRIWKHQLJKWZLWKWZRLQGHSHQGHQWLQYHVWLJDWRUV
    LQWHUYLHZLQJZLWQHVVHVDQGVXPPDUL]LQJWKHLUVWDWHPHQWV²DQGLQVRPH
    LQVWDQFHVTXRWLQJWKHPGLUHFWO\²LQDQRIILFLDOUHSRUW$OOREVHUYDWLRQV
    DWWULEXWHGWRZLWQHVVHVLQWKLVVWRU\DVZHOODVWH[WVFLWHGDUHWDNHQIURP
    WKDWUHSRUW

    7KHWZRIULHQGVJRWKHUEDFNWRKHUURRPSXWKHUWREHGDQGOHIW,WZDV
    $0DQGVKHJRWDWH[W


KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH       Exhibit 77, page 4                       
     Case: 1:15-cv-00605-MRB         Doc #: 41-4 Filed: 01/26/16 Page: 9 of 60 PAGEID #: 3080
                             2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


        -2+17KHVHFRQGWKDW\RX UHDZD\IURPWKHPFRPHEDFN
        -$1(2ND\
        -2+1*HWWKHIXFNEDFNKHUH
        -$1(7KH\ UHVWLOOZLWKPHR
        -2+10DNHWKHPOHDYH7HOOWKHP\R\ZDQWWRVOHHS, GF>,GRQ W
        FDUH@-XVWJHWEDFNKHUH
        -$1(2ND\GR\RXKDYHDFRQGRP
        -2+1<HV
        -$1(*RRGJLYHPHWZRPLQXWHV
        -2+1&RPHKHUH
        -$1(&RPLQJ
        -2+1*RRGJLUO
        -2+1.QRFNZKHQ\RX UHKHUH

    6HHPLQJO\DZDUHRIZKDWZDVFRPLQJQH[W-DQHWH[WHGDIULHQG, P
    ZDVWHGDQG, PJRLQJWRKDYHVH[QRZDQGZKLOHVKHPDGHKHUZD\GRZQ
    WR-RKQ VURRPVKHYRPLWHGLQDWUDVKFDQLQWKHKDOOZD\EHIRUHPDNLQJLW
    WRWKHPHQ VEDWKURRPDQGILQDOO\-RKQ VURRP

    /DWHU-RKQZRXOGVD\KHUHPHPEHUVIHZVSHFLILFVDERXWWKHIROORZLQJ
    KRXULQFOXGLQJWKH$0WH[WKHVHQWWRKLVURRPPDWHLQVWUXFWLQJ
    KLPWRVWD\WKHIXFNRXWRIRXUURRP+HDOVRSXWDSLHFHRISDSHULQWKH
    VORWIRUWKHNH\FDUGWRWKHURRPWKHPLOOHQQLDOHTXLYDOHQWRIWKHVRFNRQ
    WKHGRRUNQRE-DQHZRXOGVD\WKDWVKHGRHVQ WUHPHPEHUPXFKHLWKHU
    H[FHSWIRUZKHQVKHWROG-RKQVKH GMXVWWKURZQXSDQGQHHGHGDSLHFHRI
    JXPDQGZKHQVKHDVNHGKLPDJDLQLIKHKDGDFRQGRPDQGZKHQVKH
    SHUIRUPHGRUDOVH[RQKLPDQGZKHQ-RKQWROGKHUWKDWKLVURRPPDWH
    KDGMXVWZDONHGLQRQWKHPKDYLQJVH[ +LVURRPPDWHZRXOGODWHUWHOO

KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH       Exhibit 77, page 5                       
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 10 of 60 PAGEID #: 3081
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


    LQYHVWLJDWRUVWKDWEDVHGRQZKDWKHZDVWROGWRORRNRXWIRUGXULQJWKH
    VH[XDODVVDXOWSUHYHQWLRQWUDLQLQJKHUHFHLYHGGXULQJRULHQWDWLRQZKDWKH
    VDZZKHQKHZDONHGLQWKHURRPGLGQ WORRNOLNHVH[XDODVVDXOW /DWHU
    ZKHQ-RKQZHQWGRZQWKHKDOOWRXVHWKHUHVWURRPDQHLJKERUIURPGRZQ
    WKHKDOONQRFNHGRQ-RKQ VGRRUWRFKHFNRQ-DQH$FFRUGLQJWRWKH
    LQYHVWLJDWRUV UHSRUW+HDVNHGLIVKHZDVRND\-DQHUHVSRQGHG \HDK
    >+H@VDLGKHDVNHG $UH\RXVXUH" -DQHUHSOLHG <HDK, PILQH >+H@VDLG
    KHDVNHG-DQH'RHDWKLUGWLPHLIVKHZDVRND\DQGVKHDQVZHUHGWKDWVKH
    ZDV:KLOHWKHQHLJKERUZRXOGDOVRVD\WKDW-DQHDQVZHUHGNLQGRI
    XQFRQYLQFLQJO\DQGVKHVRXQGHGNLQGRIVDGKHVDLGKHWRRNKHUZRUG
    IRULW -DQHWROGLQYHVWLJDWRUVWKDWVKHDOVRUHPHPEHUVWKLVH[FKDQJH
    -RKQUHWXUQHGIURPWKHUHVWURRPDQGWKLUW\PLQXWHVODWHU-DQHOHIWKLV
    URRP

                                                     ADVERTISEMENT - CONTINUE READING BELOW




    $W$0-RKQWH[WHGKLVURRPPDWH2XUURRPLVIUHHJREDFNDQ\
    WLPHDQGWZHQW\PLQXWHVODWHU-DQHVHQWWKHIROORZLQJWH[WPHVVDJHWR
    WZRIULHQGV

        

    -RKQZRXOGODWHUOHDUQWKDWKHILQLVKHGWKHQLJKWE\WDONLQJWRDIHPDOH
    IULHQGIRUDIHZPLQXWHV²DERXWZKDWKHGRHVQRWUHFDOO²DQGJRLQJWR
    VOHHS-DQHPHDQZKLOHZHQWEDFNWRKHUURRPZKHUHKHUURRPPDWH

KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH                Exhibit 77, page 6             
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 11 of 60 PAGEID #: 3082
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


    ZRXOGODWHUVD\VKHZDVQRWPDNLQJVHQVHZDVVOXUULQJKHUZRUGVFRXOG
    QRWXQEXWWRQKHUFORWKLQJ«+RZHYHUZKHQ-DQH VURRPPDWHZHQWWR
    WDNHDVKRZHU-DQHJRWRXWRIEHGDQGPDGHKHUZD\WRWKHFRPPRQURRP
    LQDQRWKHUGRUP+HUURRPPDWHHYHQWXDOO\IRXQGKHULQKHUSDMDPDV
    VLWWLQJRQDFRXFKRQVRPHJX\ VODSDVKHUURRPPDWHSXWLWDQGMRNLQJ
    DERXW1DVFDU+HUURRPPDWHJRWKHURXWRIWKHUHVWDWLQJODWHUWKDW-DQH
    ZDVLQFRKHUHQW


    MORE FROM ESQUIRE




      OUR CURRENT DIFFICULTIES: 9 ESSAYS                               STALKED: WHEN ONE MAN WOULDN'T GO
      ABOUT MEN AND W…                                                 AWAY


    -RKQDQG-DQHZRXOGERWKZDNHXSWKHQH[WGD\H[WUHPHO\KXQJRYHUDQG
    XQFHUWDLQDERXWZKDWKDGKDSSHQHG/DWHULQWKHGD\-DQHZRXOGOHDUQ
    VKHZDVQRORQJHUDYLUJLQ7KUHHPRQWKVODWHU-RKQZRXOGILQGRXWKH G
    EHHQH[SHOOHG




    %HIRUH5ROOLQJ6WRQHDQG89$EHIRUH-DPHLV:LQVWRQDQG)ORULGD
    6WDWHEHIRUHDVOLJKW\RXQJZRPDQEHJDQKDXOLQJDPDWWUHVVDURXQG
    &ROXPELD8QLYHUVLW\WKHUHZDV7LWOH,;WKHODQGPDUNVWDWXWH
    HVWDEOLVKLQJWKDWQRVWXGHQWLQDIHGHUDOO\ILQDQFHGHGXFDWLRQSURJUDPFDQ
    EHGLVFULPLQDWHGDJDLQVWRUGHSULYHGRIHTXDODFFHVVWRHGXFDWLRQEHFDXVH
KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH          Exhibit 77, page 7                   
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 12 of 60 PAGEID #: 3083
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


    RIKLVRUKHUJHQGHU)RUGHFDGHV7LWOH,;ZDVNQRZQPRVWO\IRULWVLPSDFW
    RQFROOHJHVSRUWVDQGWKRXJKWKHODZWHFKQLFDOO\FRYHUHGLQFLGHQWVRI
    KDUDVVPHQWDQGYLROHQFHVH[XDODVVDXOWVRQFROOHJHFDPSXVHVZHUH
    JHQHUDOO\PDWWHUVOHIWWRWKHGLVFUHWLRQRIFROOHJHDGPLQLVWUDWRUV0RVW
    VFKRROVZHUHQRWWKLQNLQJRIWKHVHFDVHVDVEHLQJDERXW7LWOH,;VD\V
    1DQF\&DQWDOXSRDSURIHVVRUDW*HRUJHWRZQ/DZDQGDYLFHSUHVLGHQWDW
    WKH1DWLRQDO$VVRFLDWLRQRI6WXGHQW3HUVRQQHO$GPLQLVWUDWRUV7KH\ZHUH
    MXVWWKLQNLQJDERXWWKHPDVEHLQJDSDUWRIWKHLUVWXGHQWGLVFLSOLQDU\
    SURFHVV

    7KDWDOOEHJDQWRFKDQJHLQZKHQWKH2IILFHIRU&LYLO5LJKWVLQWKH
    'HSDUWPHQWRI(GXFDWLRQZKLFKLVFKDUJHGZLWKHQIRUFLQJ7LWOH,;
    FRPSOLDQFHVHQWRXWZKDWLWFDOOVD'HDU&ROOHDJXHOHWWHULQIRUPLQJDQ\
    FROOHJHWKDWUHFHLYHVIHGHUDOIXQGLQJ²WKDWZRXOGEHDOPRVWDOORIWKHP²
    WKDWLWPXVWWUHDWVH[XDODVVDXOWFODLPVDVSRWHQWLDOIHGHUDOFLYLOULJKWV
    YLRODWLRQVRUULVNORVLQJWKHLUIXQGLQJ7KHGHFLVLRQHIIHFWLYHO\SXWFROOHJHV
    LQWKHODZHQIRUFHPHQWEXVLQHVVDQGLWDOVRSURYLGHGDSRZHUIXOWRROWRD
    QHZJHQHUDWLRQRIDFWLYLVWVDFURVVWKHFRXQWU\ZKRZHUHIHGXSZLWKKRZ
    DGPLQLVWUDWRUVWRRRIWHQEODPHGRUGLVPLVVHGYLFWLPVRIVH[XDODVVDXOWRQ
    FDPSXV

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    7KHQLJKWDIWHUWKHLUGUXQNHQHQFRXWQHU-RKQDQG-DQHVDWRXWVLGH%UDXQ+DOODQGDFFRUGLQJ
    WR-RKQWDONHGIRUWZRKRXUVDERXWZKDWKDGKDSSHQHGWKHQLJKWEHIRUH±ZKLFKERWKFODLPHG
    WKH\FRXOGQ WUHDOO\UHPHPEHU
    ESQUIRE + EMILY SHUR

    ,QWKHVSULQJRIWZRSURIHVVRUVDW2FFLGHQWDO&DUROLQH+HOGPDQDQG

KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH      Exhibit 77, page 8                           
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 13 of 60 PAGEID #: 3084
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


    'DQLHOOH'LUNVILOHGWZRFRPSODLQWVDJDLQVWWKHVFKRROXQGHU7LWOH,;DQG
    DUHODWHGODZRQEHKDOIRIWKHUHFHQWO\IRUPHG2[\6H[XDO$VVDXOW
    &RDOLWLRQ 26$& DOOHJLQJ2FFLGHQWDOKDGPLVKDQGOHGLQYHVWLJDWLRQVDQG
    XQGHUUHSRUWHGLQFLGHQWVRIVH[XDODVVDXOWIRUGR]HQVRIZRPHQ26$& V
    OLVWRIJULHYDQFHVLVGLVWXUELQJLQFOXGLQJWZRRIWKUHHUHVSRQGHQWVIRXQG
    UHVSRQVLEOHIRUPXOWLSOHUDSHVKDYHEHHQLQYLWHGEDFNRQFDPSXV
    H[SRVLQJDQHZFURSRIVWXGHQWVWRNQRZQSUHGDWRUVDGPLQLVWUDWRUV
    WHOOLQJVXUYLYRUVDIWHUPHHWLQJWKHLUDVVDLODQWV KHGLGQ WVHHPOLNHWKH
    W\SHRISHUVRQZKRZRXOGGRVRPHWKLQJOLNHWKDW RU KHGLGQ WVHHPOLNHD
    UDSLVW DQGDFROOHJHDGPLQLVWUDWRUWHOOLQJDJURXSRIPDOHDWKOHWHVWKDW
    PRVWRIWKHFDVHVRIDOOHJHGUDSHDW2[\DUH JLUOVJHWWLQJEDFNDWWKHLUH[
    ER\IULHQGV 7KHUHZHUHDOOHJDWLRQVWKDWFULWLFVRIWKHDGPLQLVWUDWLRQ
    ZHUHEHLQJLQWLPLGDWHGDQGWKDWWKHLUHPDLOVZHUHEHLQJVHFUHWO\
    PRQLWRUHGERWKFKDUJHVWKDW2FFLGHQWDOZRXOGGHQ\8QGHULQWHQVH
    SUHVVXUHIURPERWKWKH2&5²ZKLFKZDVLQYHVWLJDWLQJWKHSRWHQWLDO7LWOH
    ,;YLRODWLRQVDQGFRXOGWKHRUHWLFDOO\ZLWKKROG2FFLGHQWDO VIHGHUDO
    IXQGLQJ²DQGFDPSXVDFWLYLVWVWKHFROOHJHSUHVLGHQW-RQDWKDQ9HLWFK
    SURPLVHGWRPDNHDPHQGVDQGWXUQ2FFLGHQWDOLQWRDQDWLRQDOOHDGHULQ
    ILJKWLQJVH[XDODVVDXOWLQSDUWE\UHYLVLQJLWVSROLFLHVRQLQYHVWLJDWLQJ
    VXFKRIIHQVHVDQGH[SDQGLQJLWVGHILQLWLRQRIVH[XDODVVDXOW

    -RKQZDVRQO\YDJXHO\DZDUHWKDWDOOWKLVZDVJRLQJRQZKHQKHPDGHKLV
    GHFLVLRQWRDWWHQG2FFLGHQWDO, GKHDUGDERXWLWEXW,KDGWKLVNLQGRI LW
    ZRQ WDIIHFWPH PHQWDOLW\KHVD\VVLWWLQJLQWKHVKDGHGDUHDRXWVLGHD
    6WDUEXFNVLQDVXQQ\SDUWRI&DOLIRUQLDODVW1RYHPEHU&ROOHJHKDVWKLV
    EXLOWXSUHSXWDWLRQDVEHLQJWKHEHVW\HDUVRI\RXUOLIH<RX UHJRQQDJHWD
    JUHDWHGXFDWLRQ\RX UHJRQQDPHHWDPD]LQJSHRSOH\RXKDYHWKHVRFLDO
    DQGPRUDOOLEHUW\WRLQGXOJH\RXUVHOI,W VEXLOWXSDVWKDWLQRXUVRFLHW\
    DQGLWZDVGHILQLWHO\WKDWZD\IRUPH
KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH      Exhibit 77, page 9                       
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 14 of 60 PAGEID #: 3085
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


    )RXUWHHQPRQWKVVLQFHWKDWQLJKW-RKQKDVDJUHHGWRVSHDNLQGHWDLOIRU
    WKHILUVWWLPHDERXWKLVH[SHULHQFHDW2FFLGHQWDO:LWKDSULVWLQHZKLWH]LW
    MXVWDERYHKLVPRXWKDQGOLWWOHHYLGHQFHRIHYHUKDYLQJVKDYHGKH VD
    \RXQJQLQHWHHQDQGLQEHWZHHQELWHVRIDEDJHODQGVLSVRIVRPHFKDL
    FRQFRFWLRQKHVSRNHDOLWWOHDERXWKLVOLIHEHIRUHFROOHJHERUQDQGUDLVHG
    LQ&DOLIRUQLDWRUHOLJLRXVSDUHQWVDQ$VWXGHQWZKRGUDQNDOLWWOHEXWQRW
    PXFKLQKLJKVFKRRODYDUVLW\DWKOHWHLQDSUHSVFKRROVSRUWDKLJKO\
    VRFLDONLGZKRLQWKHZRUGVRIKLVIDWKHUQHYHUFOXQJWRKLVPRWKHU VOHJ
    ZKHQHQWHULQJDQHZURRP+H GDSSOLHGWR2FFLGHQWDOLQSDUWEHFDXVHKLV
    JUDQGSDUHQWVKDGPHWWKHUHDVVWXGHQWVDQGLQSDUWEHFDXVHKHOLNHGLWV
    LQWHUQDWLRQDOUHODWLRQVSURJUDPDQGZKHQKHZDVDFFHSWHGKHFURVVHG
    KLVRWKHURSWLRQVRIIWKHOLVW

                                                     ADVERTISEMENT - CONTINUE READING BELOW




    -RKQ²QRWKLVUHDOQDPHDVKHSUHIHUVWRUHPDLQDQRQ\PRXV²DUULYHGRQ
    FDPSXVDWWKHHQGRI$XJXVWDQGOLNHDOOLQFRPLQJVWXGHQWVDWWHQGHGWKH
    PDQGDWRU\RULHQWDWLRQVHPLQDUV$EVROXWHO\PDQGDWRU\KHVD\VWRGD\
    $QGGXHWRWKHIDFWWKDWWKH\ GMXVWEHHQKLWZLWKWKLVPDMRU7LWOH,;VXLWD
    FRXSOHPRQWKVHDUOLHURXURULHQWDWLRQZDVDEVROXWHO\GRPLQDWHGE\
    VH[XDODVVDXOW:KHQWKHSUHVHQWDWLRQVWXUQHGWRDOFRKRODQGLWVUROHLQ
    VH[XDODVVDXOWV-RKQUHFDOOVWKHOLQHLVEDVLFDOO\WKDW\RXKDYHWRJHW
    FRQVHQW,IVRPHRQH VLQFDSDFLWDWHGLIVRPHRQH VSDVVHGRXW>WKH\@FDQ W
    JLYHFRQVHQW7KDWZDVSUHWW\FOHDU1RWKLQJDERXWVLJQVRISRWHQWLDO
    LQFDSDFLWDWLRQEH\RQGREYLRXVXQFRQVFLRXVQHVV"1RQHWKDWKHFDQUHFDOO
KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH             Exhibit 77, page 10               
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 15 of 60 PAGEID #: 3086
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


    -RKQVD\V(YHQQRZLW VPXUN\RQZKHUHWKHOLQHLVEHWZHHQGUXQNDQG
    LQFDSDFLWDWHG 2FFLGHQWDOGHFOLQHGWRFODULI\KRZLWVRULHQWDWLRQ
    GLVWLQJXLVKHGEHWZHHQLQWR[LFDWLRQDQGLQFDSDFLWDWLRQHLWKHUGXULQJ
    RUDIWHU


    MORE FROM ESQUIRE




      HOW HILLARY CLINTON TROLLED THE                                  THE REPUBLICAN DEBATE WAS A SORRY
      GOP DURING THE DEB…                                              MESS


    +HNQHZ-DQHDOLWWOHIURPDURXQGWKHGRUPDQGIURPDFODVVWKH\KDG
    WRJHWKHU,KDGVHHQKHUWZRRUWKUHHWLPHVLQFODVV,KDGRQH
    FRQYHUVDWLRQZLWKKHU,UHDOO\GLGQ WNQRZKHUDWDOO$QGWKHQFDPHKLV
    LQLWLDWLRQQLJKW7KHUHZHUHDYDULHW\RIGULQNLQJJDPHVOLNH\RXKDGWR
    GULQNDFHUWDLQDPRXQWRIDOFRKROLQDFHUWDLQDPRXQWRIWLPHWKHQ\RX
    KDGWRGRSXVKXSVDQGUXQWRDQRWKHUKRXVH7KHUHZHUHIRXUFKDOOHQJHV
    DQG,PDGHLWWKURXJKWKUHHEHFDXVH,ZDVWKURZLQJXSVRPXFK

    -RKQVD\VKHUHPHPEHUVDOPRVWQRWKLQJIURPWKHIROORZLQJKRXUVEDFNDW
    KLVGRUP1RWKLQJVSHFLILF,ZRNHXSDQG,ZDVOLNHZRZ/LNHZKDW"
    +HFKHFNHGKLVWH[WKLVWRU\DQGSXWWKHSLHFHVWRJHWKHUVOLJKWO\PRUWLILHG
    E\ZKDWKHZDVUHDGLQJ :KHQ,ORRNLQWKHPLUURUGR,VHHWKDWSHUVRQ
    >IURPWKHWH[WV@"1R7KDWZDVPHH[WUHPHO\H[WUHPHO\LQWR[LFDWHG

    -DQH²DOVRQRWKHUUHDOQDPH²WROGLQYHVWLJDWRUVWKDWVKHZRNHXSRQ
KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH        Exhibit 77, page 11                    
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 16 of 60 PAGEID #: 3087
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


    6XQGD\PRUQLQJVWLOODOLWWOHGUXQNDQGVDZDQXPEHURIPLVVHGFDOOVDQG
    IUHDNHGRXWYRLFHPDLOVIURPWKHIULHQGWRZKRPVKHZURWH
    ,PJRLQJWRKDYHVH[QRZ5HDGLQJWKURXJKKHUWH[WPHVVDJHVVKHEHJDQ
    WRVXVSHFWZKDWKDGKDSSHQHGEXWVKHZDVQ WFHUWDLQXQWLOODWHULQWKH
    GD\DURXQGVHYHQZKHQVKHPHWZLWK-RKQ VQHLJKERUIURPGRZQWKHKDOO
    ²WKH$UH\RXRND\"RQH²ZKRFRQILUPHGZKDWKDSSHQHG -RKQ V
    URRPPDWHWROGLQYHVWLJDWRUVWKDWKH GPHWZLWK-DQHHDUOLHULQWKHGD\
    DURXQG30DQGWROGKHUWKDWVKH GKDGVH[ZLWK-RKQWKRXJK-DQH
    QHYHUPHQWLRQHGWKLVPHHWLQJLQKHUVWDWHPHQWV $URXQG30VKH
    EXPSHGLQWR-RKQDQGDFFRUGLQJWRWKHLQYHVWLJDWRUV UHSRUWDVNHGKLP
    EOXQWO\ 'LGZHKDYHVH[ODVWQLJKW" +HWROGKHUWKDWWKH\GLG%XWZKHQ
    VKHDVNHGKRZKHNQHZKHVDLGKHGLGQRWUHPHPEHUKDYLQJVH[ZLWKKHU
    +HVDLGWKDWKHFRQFOXGHGWKH\KDGVH[EHFDXVHKHIRXQGKHUEHOWDQG
    HDUULQJVKHVDZKLVWH[WPHVVDJHVDQGKHIRXQGDXVHGFRQGRP -DQH
    WKURXJKKHUDWWRUQH\GHFOLQHGWRFRPPHQWIRUWKLVDUWLFOHDQGKDVQHYHU
    VSRNHQSXEOLFO\DERXWWKDWQLJKWRULWVDIWHUPDWK$OOVWDWHPHQWVDQG
    UHFROOHFWLRQVDWWULEXWHGWRKHUDUHIURPWKHLQYHVWLJDWRUV UHSRUW

    $IWHUWKLVLQLWLDOHQFRXQWHU-RKQVD\VWKH\PHWXSDJDLQODWHUWKDWQLJKW
    DQGVSRNHIRUDZKLOHRXWVLGHWKHLUGRUP:HMXVWVDWRXWVLGH%UDXQ+DOO
    DQGWDONHGIRUOLNHWZRKRXUV,ZDVOLNH :RZZHKDGVH[ODVWQLJKWDQG,
    GRQ WUHDOO\NQRZ\RX DQGVKHZDVOLNH ,GRQ WUHDOO\NQRZ\RX $QGZH
    MXVWWDONHGLWWKURXJK,PHDQLW VDZNZDUGEXWZHKDGDSUHWW\GHFHQW
    FRQYHUVDWLRQDQGEDVLFDOO\FKDONHGLWXSWRDGUXQNHQPLVWDNH:HOHIW
    WKLQJVYHU\JRRGULJKWWKHQ

    7KDWZDV6XQGD\QLJKWDQG0RQGD\WKHQH[WGD\,ZDVVLWWLQJLQFODVV
    DQGVKHZDVQ WWKHUHKHVD\V$QGKDOIZD\WKURXJKWKHSHULRG²WKHUH VD
    ZKROHEXQFKRIRSHQVHDWV²VKHZDONHGLQ,ZDVDWWKHIDUVLGHRIWKH
KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH   Exhibit 77, page 12                         
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 17 of 60 PAGEID #: 3088
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


    FODVVURRP:HPDGHH\HFRQWDFWVKHFDPHRYHUDQGVDWQH[WWRPH
    -RKQ VURRPPDWHZKRZDVDOVRLQWKHFODVVWROGLQYHVWLJDWRUVWKDWLW
    ORRNHGOLNHWKHWZRZHUHJHWWLQJDORQJQRUPDOO\,WKRXJKWLWZDVZHLUG
    DIWHU,OHDUQHGRIWKHFRPSODLQWKHVDLG:K\VLWQH[WWRKLPLIKH
    DVVDXOWHG\RX"

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    FRPSODLQHGWKDWWKHFROOHJHYLRODWHGIHGHUDOVWDQGDUGVIRUGHDOLQJZLWKWKHLUFODLPVRIUDSHRU
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    AP + NICK UT

    -DQHZDVODWHIRUFODVVEHFDXVHDFWLQJRQDGYLFHIURPKHUURRPPDWH
    VKH GJRQHWRWKHFDPSXVKHDOWKFHQWHUWRVSHDNWRDFRXQVHORUDERXW
    6DWXUGD\QLJKW$FFRUGLQJWR-DQH VVWDWHPHQWWRLQYHVWLJDWRUVWKH
    FRXQVHORUOLVWHQHGWRKHUVWRU\DQGUHVSRQGHG7KDWVXFNVDORW-DQH
    WKHQPHWZLWKWKHUHVLGHQWVXUYLYRUDGYRFDWHZKRDGYLVHGKHUWRJRJHWD
    UDSHNLWSHUIRUPHGDWDORFDOFOLQLF7KHDGYRFDWHDOVRWROGKHUWKDWVLQFH
    VKHZDVVHYHQWHHQWKHGRFWRUZRXOGKDYHWRDOHUWWKHDXWKRULWLHV$V-DQH
    GLGQRWZDQWWRLQYROYHWKHSROLFHVKHLQVWHDGZHQWWRFODVVDQGVDWQH[WWR
    -RKQEHFDXVHDVDQDGYLVRUZRXOGODWHUUHSRUWVKHGLGQ WZDQWWRPDNHD
    ELJGHDORILW 7KHDGYLVRUDOVRUHSRUWHGWKDWVKHWROGKHUVKHIHOWILQH
    VLWWLQJQH[WWRKLPDQGWKDWKHJHQXLQHO\VHHPVOLNHDJRRGSHUVRQ²
    ZKLFKPD\KDYHEHHQSODLQVWDWHPHQWVRIIDFWRUDVVRPHZRXOGODWHU
    FRQWHQGHYLGHQFHVKHZDVLQGHQLDOZKLFKLVQRWXQFRPPRQDPRQJ
    WUDXPDDQGDEXVHYLFWLPV $IWHUFODVVVKHDSSURDFKHGKHUSURIHVVRU
    0RYLQGUL5HGG\DQGRYHUWZRFRQYHUVDWLRQVWROGKHUHYHU\WKLQJWKDWKDG
    KDSSHQHG5HGG\VXJJHVWHGVKHVSHDNWRVRPHRQH

KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH   Exhibit 77, page 13                             
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 18 of 60 PAGEID #: 3089
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


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    -DQHDQG-RKQZRXOGWH[WODWHUWKDWQLJKW

        -2+1:KDWGLG\RXJX\VWDONDERXW">UHIHUULQJWRDJURXSGRUP
        PHHWLQJ@
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        -2+1$KDKDWKDWLVGHILQLWHO\ILWWLQJ,WKLQN, PJRQQDWDNHDORQJ
        EUHDNIURPDOFRKROKHUH«
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        -2+1'RRRLWWWW, PJRQQDEHVREHUDOOZHHN,QHHGWRIRFXVRQVFKRRO
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        KDSSHQHG, PVRVRUU\WKDWHYHU\WKLQJKDSSHQHGWKLVZD\,ZLVKLWZDV
        PRUHVSHFLDOIRU\RX
        -$1(2ND\
        -2+1,GRQ WNQRZ, PQRWDQJU\WKDWVWXIIKDSSHQHGEHWZHHQXV,
        MXVWZLVKZHKDGNQRZQHDFKRWKHUPRUH
        -2+1, PJODGWKDWZH UHVWLOOWDONLQJ
        -2+16LJK,KRSHQRQHRIWKDWFDPHDFURVVWKHZURQJZD\,ZDQW\RX
        WRNQRZWKDW, PQRWDEDGJX\
        -$1(,WKLQN, PVWLOOWU\LQJWRWKLQNWKURXJKHYHU\WKLQJ$QG, PQRW
        GRLQJDJUHDWMRE
KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH             Exhibit 77, page 14               
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 19 of 60 PAGEID #: 3090
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\



    MORE FROM ESQUIRE




      THE 'OTHER' KIDDIE TABLE AT THE                                  THE REPUBLICAN 'KIDS' TABLE' DEBATE
      KIDDIE TABLE DEBAT…                                              WAS, WELL, WEI…


    ,WKRXJKWZHZHUHMXVWNLQGDJRQQDKDYHDQDZNZDUGIULHQGVKLSPRYLQJ
    IRUZDUG-RKQVD\V8QEHNQRZQVWWRPHVKH GEHHQWDONLQJWRDORWRI
    SHRSOH<RXNQRZFRXQVHORUV

    2QHRIWKRVHFRXQVHORUVZDV'DQLHOOH'LUNVWKHSURIHVVRUZKR GKHOSHG
    ILOHWKH7LWOH,;FRPSODLQWWKHSUHYLRXVVSULQJDQGWKHVRPHRQHWKDW
    5HGG\VXJJHVWHGVKHVSHDNWR$FFRUGLQJWR'LUNV VVWDWHPHQWVWR
    LQYHVWLJDWRUVZKHQ-DQHILUVWWROG'LUNVKHUVWRU\'LUNVFDOOHGZKDW
    KDSSHQHGWR-DQHUDSHWRZKLFK-DQHUHSOLHG2K,DPQRWFDOOLQJLW
    UDSH\HW$FFRUGLQJWR-DQH VVWDWHPHQWVWRLQYHVWLJDWRUV'LUNVWROGKHU
    WKDW-RKQILWWKHSURILOHRIRWKHUUDSLVWVRQFDPSXVLQWKDWKHKDGDKLJK
    *3$LQKLJKVFKRROZDVKLVFODVVYDOHGLFWRULDQZDVRQ>DVSRUWV@WHDP
    DQG IURPDJRRGIDPLO\ 'LUNVZRXOGDOVRWHOOWKHLQYHVWLJDWRUVWKDW
    -DQH VEHKDYLRUPDWFKHGWKHGR]HQVRIRWKHUVXUYLYRUV>RIVH[XDODVVDXOW@
    ,KDYHPHWZLWKRQFDPSXVWKDW-DQHKDGEHHQLQDVWURQJVWDWHRI
    GHQLDODERXWWKHQDWXUHRIWKHHYHQWWKDW-RKQZDVDFWLQJLQWKHVDPH
    ZD\DOOWKHVHRWKHU\RXQJPHQ>LQYROYHGLQVH[XDODVVDXOWV@KDYHDFWHGE\
    FKHFNLQJLQRQ-DQHDIWHUWKHLQFLGHQWDQGVHHNLQJWRPDQDJHKHUE\
    EHLQJQLFHLQDPDQQHU«GHVFULEHGDV GLVLQJHQXRXV 
KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH        Exhibit 77, page 15                    
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 20 of 60 PAGEID #: 3091
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


      'LUNVGLGQRWUHVSRQGWRUHTXHVWVWREHLQWHUYLHZHGIRUWKLVVWRU\EXWVKH
    WROGWKH:HEVLWH%XVLQHVV,QVLGHULQ0D\WKDWUHJDUGLQJP\DOOHJHG
    VWDWHPHQWRQWKH SURILOHRIDUDSLVW DW2FFLGHQWDOWKH&ROOHJH V
    LQYHVWLJDWLYHUHSRUWPLVUHSUHVHQWVP\VWDWHPHQWVDQGFRQWDLQVIDFWXDO
    HUURUVUHJDUGLQJP\LQYROYHPHQWLQWKHFDVH:KHWKHU-DQH
    PLVUHSUHVHQWHGWRLQYHVWLJDWRUVZKDW'LUNVWROGKHURUZKHWKHU
    LQYHVWLJDWRUVPDGHDPLVWDNHZKHQUHFRUGLQJ-DQH VWHVWLPRQ\DQG
    ZKHWKHULWERWKHUHGWKHFROOHJHWKDWDNH\ZLWQHVVLQLWVLQYHVWLJDWLRQWKH
    SHUVRQZKRVHKDQGZULWWHQQRWHVIURPPHHWLQJZLWKWKHDFFXVHUZHUH
    VXEPLWWHGDVHYLGHQFHLVQRZDOOHJLQJIDFWXDOHUURUVDQG
    PLVUHSUHVHQWDWLRQVLQWKHILQDOUHSRUWLVXQNQRZQ2FFLGHQWDOGHFOLQHGWR
    FRPPHQWRQ'LUNV VFODLPVRUDQ\WKLQJHOVHUHJDUGLQJWKHGHWDLOVRIWKH
    FDVHFLWLQJSHQGLQJOLWLJDWLRQ+RZHYHU'LUNVHODERUDWHGRQKHUYLHZRI
    PDOHFROOHJHVWXGHQWVLQJHQHUDOWR1HZ<RUNPDJD]LQHLQ6HSWHPEHU
    5HVHDUFK>'LUNV@VD\VVKRZVWKDWRQO\DVPDOOSHUFHQWDJHRIFROOHJHJX\V
    WUXO\GRQ WNQRZZKHUHWKHOLQHLV² DQGIRUWKHPLI\RXWHOOWKHPWRJHW
    YHUEDOFRQVHQWWKH\GRQ WSXVKVRKDUG 6KHSDXVHV %XWWKHUHVWRIWKHP
    ²DQG,NQRZLW VKDUGWRWKLQNRIRXUEURWKHUVRXUVRQVOLNHWKLV²DUH
    FDOFXODWHGSUHGDWRUV7KH\VHHPOLNHQLFHJX\VEXWWKH\ UHQRWQLFHJX\V
    

    2YHUWKHIROORZLQJZHHN²DVVKHFRQWLQXHGVSHDNLQJZLWK'LUNVDQGDV
    VKHUHOD\HGWRLQYHVWLJDWRUVKHUURRPPDWHSXVKHGKHUWRUHDOL]HWKDWVKH
    KDGEHHQVH[XDOO\DVVDXOWHG²-DQHVWDUWHGWRGHYHORSZKDWVKHGHVFULEHG
    DVHPRWLRQDOSUREOHPV1LJKWPDUHV3UREOHPVIRFXVLQJ)ODVKEDFNVWR
    WKDWQLJKW$FFRUGLQJWRWKHLQYHVWLJDWRUV UHSRUW-DQH'RHVWDWHGWKDW
    VKHGHFLGHGWRUHSRUWZKDWKDGKDSSHQHGZKHQVKHUHDOL]HGKRZPXFKLW
    KDGDIIHFWHGKHUHPRWLRQDOO\ZKLOHVHHLQJQRUHDFWLRQIURP-RKQ6KH
    QRWHGWKDWKHDWWHQGHGKLVFODVVHVZLWKRXWGLIILFXOW\DQGVKH VDZWKDWKH
KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH   Exhibit 77, page 16                         
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 21 of 60 PAGEID #: 3092
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


    ZDVQ WID]HGE\ZKDWKDGKDSSHQHGDWDOO 

    -DQHWROGLQYHVWLJDWRUVWKDWVLQFHWKHLQFLGHQWZLWK-RKQQDYLJDWLQJ
    DURXQGFRUQHUVZLWKULJKWDQJOHV VFDUH>G@WKHKHOORXWRIPH>EHFDXVH@,
    GRQ WNQRZZKDWLVDURXQGWKHFRUQHU 6KHDOVRVDLGWKDWVKHKHDUG-RKQ
    ZDVJRLQJRQDERXWKRZPXFKKHKDWHVZRPHQ -RKQGHQLHVVD\LQJ
    DQ\WKLQJOLNHWKLV $QGVKHWROGLQYHVWLJDWRUV,WVFDUHVPHWKDWKHVWLOO
    JRHVRXWDQGVWLOOJRHVWRSDUW\,GRQ WWKLQNDQ\RQHVKRXOGKDYHWRJR
    WKURXJKZKDW,KDYHJRQHWKURXJK

    $ERXWWHQGD\VDIWHUWKHHYHQW-DQHGHFLGHGVKHZRXOGUHSRUWWKHLQFLGHQW
    WRERWKWKHFDPSXVDQGFULPLQDODXWKRULWLHV $W2FFLGHQWDOOLNHQHDUO\DOO
    FROOHJHVDVWXGHQWFDQFKRRVHERWKRSWLRQVRQHRSWLRQRUQHLWKHU²WKHUH
    LVW\SLFDOO\QRUHTXLUHPHQWWKDWWKHDFFXVHURUWKHFROOHJHDOHUWWKHORFDO
    SROLFHWKDWDSRWHQWLDOFULPHRFFXUUHG²WKRXJKLQ-DQH VFDVHEHFDXVHVKH
    ZDVXQGHUWKHDJHRIHLJKWHHQDWWKHWLPHRIWKHLQFLGHQW2FFLGHQWDO
    SROLF\ZRXOGKDYHOLNHO\UHTXLUHGDGPLQLVWUDWRUVWRFRQWDFWWKHDXWKRULWLHV
    ZKHWKHUVKHZDQWHGWKHPWRRUQRW -DQHZDVUHDG\WRFDOOLWUDSH




    ,ZDVZDONLQJRQFDPSXVZLWKVRPHIULHQGVDWDURXQG
    -RKQUHFDOOVRIWKHQLJKWZKHQKLVOLIHDVDQRUPDO2FFLGHQWDOVWXGHQW
    HIIHFWLYHO\HQGHG,JRWDFDOORQP\FHOOSKRQHIURPDQXQNQRZQQXPEHU
    DQG,SLFNHGLWXS,WZDVWKH7LWOH,;GLUHFWRURIWKHVFKRROVD\LQJ <RX
    QHHGWRJHWDOO\RXUVWXIIDQGJHWRXWRIWKHGRUP:H UHJRQQDKDYH
    RIILFHUVWDNH\RXVRPHZKHUH 6KHZDVEHLQJH[WUHPHO\OHJDOLVWLFWHOOLQJ
    PHWKDWWKHUH VDFRPSODLQWDJDLQVWPHEXWQRWUHDOO\FODULI\LQJZKDWLWLV
    $QG,UHPHPEHUMXVWEHLQJOLNH 7HOOPHZKDW VJRLQJRQ $QGVKHZDV
    MXVWOLNH :HUHDOO\FDQ W
KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH   Exhibit 77, page 17                         
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 22 of 60 PAGEID #: 3093
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


    ,FDOOHGP\GDGULJKWDZD\-RKQVD\VDQG,ZDVOLNH <RXVKRXOGJR
    RXWVLGH,KDYHVRPHWKLQJWRWHOO\RX 

    -RKQ VIDWKHUFDOOHGDIDPLO\IULHQGDQDWWRUQH\LQ/RV$QJHOHVQDPHG
    0DUN+DWKDZD\DQGDIWHUOHDUQLQJWKHH[WHQWRIWKHDOOHJDWLRQVRYHUWKH
    QH[WIHZGD\VDFFRUGLQJWR-RKQWKH\VWDUWHGORRNLQJRYHUWKHWH[W
    PHVVDJHHYLGHQFH,WZDVOLNHORJLFDOO\WKHUH VQRZD\WKH\FRXOGH[SHO
    PH

                                                     ADVERTISEMENT - CONTINUE READING BELOW




    $URXQGWKHWLPH-DQHILOHGKHUFRPSODLQWZLWK2FFLGHQWDOVKHZHQWWRWKH
    /$3'ZKHUHDFFRUGLQJWRKHUVWDWHPHQWWRLQYHVWLJDWRUVVKHZDVDVNHG
    E\DGHVNRIILFHULI-RKQIRUFHGKHULQWRKLVURRPDQGZKHQVKHVDLG 1R
    WKHRIILFHUVWDWHG :HOOWKHQLW VQRWUDSH -DQHZHQWKRPHGLVWUHVVHG
      $FFRUGLQJWRDUHSUHVHQWDWLYHIURPWKH/$3'WKLVZDVDSURFHGXUDOHUURU
    DQGQRWKRZDFFXVDWLRQVRIVH[XDODVVDXOWDUHW\SLFDOO\KDQGOHG,WLVDOVRD
    SULPHH[DPSOHRIH[DFWO\ZKDWZRPHQIHDUWKH\ZLOOHQFRXQWHULIWKH\JR
    WRWKHSROLFH

    'HVSLWHWKHLQLWLDOHQFRXQWHU/$3'GHWHFWLYHVYLVLWHG2FFLGHQWDOVHYHUDO
    GD\VODWHUDQGWROG-DQHWKDWWKH\ZRXOGLQYHVWLJDWHWKHFDVH6L[ZHHNV
    ODWHUDIWHUFROOHFWLQJHYLGHQFH²LQFOXGLQJWKHWH[WPHVVDJHVH[FKDQJHGE\
    -RKQDQG-DQH²DQGLQWHUYLHZLQJZLWQHVVHV H[FHSWIRU-RKQZKRRQWKH
    DGYLFHRIKLVDWWRUQH\GHFOLQHGWREHLQWHUYLHZHGE\WKHRIILFHUV WKH\
    IRXQGLQVXIILFLHQWHYLGHQFHWRFKDUJH-RKQZLWKDFULPH$FFRUGLQJWRWKH
KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH             Exhibit 77, page 18               
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 23 of 60 PAGEID #: 3094
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


    &KDUJH(YDOXDWLRQ:RUNVKHHWFRPSOHWHGRQ1RYHPEHUILOOHGRXWDQG
    VLJQHGE\WKHGHSXW\GLVWULFWDWWRUQH\ZLWQHVVHVZHUHLQWHUYLHZHGDQG
    DJUHHGWKDWWKHYLFWLPDQGVXVSHFWZHUHERWKGUXQNKRZHYHUWKDWWKH\
    ZHUHERWKZLOOLQJSDUWLFLSDQWVH[HUFLVLQJEDGMXGJPHQW«6SHFLILFDOO\WKH
    IDFWVVKRZWKHYLFWLPZDVFDSDEOHRIUHVLVWLQJEDVHGRQKHUDFWLRQV«
    0RUHSUREOHPDWLFLVWKHLQDELOLW\WRSURYHWKHVXVSHFWNQHZRUUHDVRQDEO\
    VKRXOGKDYHNQRZQWKDWVKHZDVSUHYHQWHGIURPUHVLVWLQJLQWKDWVWDWH,W
    ZRXOGEHUHDVRQDEOHIRUKLPWRFRQFOXGHEDVHGRQWKHLUFRPPXQLFDWLRQV
    DQGKHUDFWLRQVWKDWHYHQWKRXJKVKHZDVLQWR[LFDWHGVKHFRXOGVWLOO
    H[HUFLVHUHDVRQDEOHMXGJPHQW«

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    2FFLGHQWDO±RIZKLFKVHYHQW\VHYHQ\HDUROG7KRUQH+DOOLVWKHV\PEROLFFHQWHU±LVDZDLWLQJ
    UXOLQJVIURPWKHIHGHUDOJRYHUQPHQWRQFRPSODLWVRILWVKDQGOLQJRIVH[XDODVVDXOWFDVHV
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      PHOTOS: HIROSHIMA, 70 YEARS AGO AND                              BOUNTY HUNTERS RAID HOME OF
      TODAY                                                            PHOENIX POLICE CHIEF


    $OLWWOHRYHUD\HDUODWHUWKHLQYHVWLJDWLQJRIILFHU ZKRDVNHGWKDWKHU
    QDPHEHZLWKKHOGH[SODLQLQJWKDWVKHGRHVQ WZDQWWRDSSHDULQ:HE

KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH        Exhibit 77, page 19                        
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 24 of 60 PAGEID #: 3095
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


    VHDUFKHVDERXWWKLVFDVHDQGSRWHQWLDOO\GLVVXDGHYLFWLPVIURPVSHDNLQJWR
    KHU UHPHPEHUHGWKHFDVHFOHDUO\:HKDGWKHVHUHDOO\EDGWH[WPHVVDJHV
    WKDWVXSSRUWHGDFRQVHQVXDOHQFRXQWHUVKHVD\V(YHQWKRXJK
    HYHU\WKLQJSRLQWHGWRKHUEHLQJLQWR[LFDWHGVKHVWLOOKDGHQRXJKIUDPHRI
    PLQGWRVHQGWKHVHWH[WPHVVDJHVVD\LQJ , PRQWKHZD\, PFRPLQJ, P
    FRPLQJ'R\RXKDYHDFRQGRP" 6RKLVVWDWHRIPLQGLVVKH VVD\LQJ\HV«
    +RZZDVKHVXSSRVHGWRNQRZWKDWVKHGLGQRWZDQWWRJLYHFRQVHQW"
    $QGLIKH VLQWR[LFDWHGWKHQWKDWNLQGRIIDOOVXQGHUWKHVDPHFDWHJRU\
    :DVKHDEOHWRJLYHFRQVHQW"7KHUH VDZKROHEXQFKRIGLIIHUHQWIDFWRUV
    WKDWZHQWLQWRWKLV

    %DVHGRQWKHHYLGHQFHVKHDGGV,GRQ WWKLQNKHFRPPLWWHGDFULPH




    :KHQKHVWHSSHGXSWRDSRGLXPDWWKH:KLWH+RXVHODVW
    6HSWHPEHUWRODXQFK,W V2Q8VDFDPSDLJQWRFRPEDWVH[XDODVVDXOW
    RQFROOHJHFDPSXVHV3UHVLGHQW2EDPDVDLG$QHVWLPDWHGRQHLQILYH
    ZRPHQKDVEHHQVH[XDOO\DVVDXOWHGGXULQJKHUFROOHJH\HDUV7KDW
    VWDWLVWLF²ZKLFKTXLFNO\WRRNKROGLQFRQYHUVDWLRQVDURXQGWKHLVVXH²
    VWHPVSULPDULO\IURPDVWXG\FRPPLVVLRQHGE\WKH1DWLRQDO
    ,QVWLWXWHRI-XVWLFHLQZKLFKSHUFHQWRIIHPDOHVWXGHQWVUHSRUWHG
    H[SHULHQFLQJDFRPSOHWHGRUDWWHPSWHGVH[XDODVVDXOWGXULQJWKHLUIRXU
    \HDUVLQFROOHJHZLWKVH[XDODVVDXOWGHILQHGDVUDQJLQJIURPIRUFHG
    YDJLQDOVH[WRIRUFHGNLVVLQJRUIRQGOLQJ7KHILQGLQJVZHUHEDVHGRQ
    :HEVXUYH\VRIVWXGHQWVDWWZRXQQDPHGSXEOLFXQLYHUVLWLHVDQGWKH\
    PRUHRUOHVVPLUURUWKHILQGLQJVRIDIHZRWKHUVWXGLHVRYHUWKHSDVWIHZ
    GHFDGHV

    +RZHYHUWKHOHDGDXWKRURIWKH1,-VWXG\&KULVWRSKHU.UHEVRI57,
KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH   Exhibit 77, page 20                         
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 25 of 60 PAGEID #: 3096
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


    ,QWHUQDWLRQDODUHVHDUFKRUJDQL]DWLRQLQ1RUWK&DUROLQDLVWKHILUVWWR
    SRLQWRXWWKHOLPLWDWLRQVRIKLVGDWD:HGRQ WWKLQNRXUGDWDDUH
    QDWLRQDOO\UHSUHVHQWDWLYH:H YHQHYHUGHVFULEHGWKHPLQWKDWZD\RU
    FODLPHGWKDWWKH\DUHKHVD\VE\SKRQHIURPKLVRIILFHRXWVLGH5DOHLJK
    $QGVLQFHGDWDRQWKHSUHYDOHQFHRIFROOHJHVH[XDODVVDXOWLVZLGHO\
    FRQVLGHUHGVRIW GXHHVSHFLDOO\WRYDU\LQJGHILQLWLRQVRIVH[XDODVVDXOWDV
    ZHOODVDQHVWLPDWHGSHUFHQWQRQUHSRUWLQJUDWHDPRQJYLFWLPV LW V
    HDVLHUWRXQGHUVWDQGWKH2EDPDDGPLQLVWUDWLRQ VDFWLRQVDVOHVVWKH
    XUJHQWUHVSRQVHWRDJURZLQJFULVLVDQGPRUHWKHORJLFDOH[WHQVLRQRILWV
    ORQJKHOGV\PSDWKLHV7KHUHUHDOO\KDVQRWEHHQDQLQFUHDVHLQ
    LQFLGHQWVVD\V%UHWW6RNRORZDODZ\HUDQGWKHIRXQGHURIWKH1DWLRQDO
    &HQWHUIRU+LJKHU(GXFDWLRQ5LVN0DQDJHPHQWZKLFKFRQVXOWVZLWK
    FROOHJHVDQGXQLYHUVLWLHVRQWKHLUVH[XDODVVDXOWSROLFLHV7KHFDWDO\VWZDV
    DVKLIWLQSULRULWLHVIRUDQHZDGPLQLVWUDWLRQFRPLQJLQWRRIILFH

    :KHQ,VWDUWHGKHUHDWWKH:KLWH+RXVHVD\V/\QQ5RVHQWKDOZKR
    MRLQHGWKH2EDPDDGPLQLVWUDWLRQLQLWVHDUO\GD\VDVWKH:KLWH+RXVH
    DGYLVRURQYLROHQFHDJDLQVWZRPHQDQGOHIWKHUSRVLWLRQLQ-DQXDU\WKH
    YLFHSUHVLGHQWDVNHGPHWRORRNDWDOOWKHGDWDDERXWYLROHQFHDJDLQVW
    ZRPHQDQGJLUOVDQGKHZDQWHGWRNQRZZKDWZDVGLIIHUHQWIURPILIWHHQ
    \HDUVDJRZKHQZHSDVVHGWKH9LROHQFH$JDLQVW:RPHQ$FW 7KHQ
    VHQDWRU%LGHQZDVLQVWUXPHQWDOLQWKHSDVVDJHRIWKHELOOZKLFK
    KHOSHGFRQWULEXWHWRDVWDJJHULQJSHUFHQWGHFUHDVHLQUHSRUWHGUDWHVRI
    GRPHVWLFYLROHQFHEHWZHHQDQG $QGZKHQZHORRNHGDWWKH
    GDWDWKHKLJKUDWHVRIERWKGDWLQJYLROHQFHDQGVH[XDODVVDXOWH[SHULHQFH
    E\ZRPHQLQWKHVL[WHHQWRWZHQW\IRXU\HDUROGDJHJURXSMXVWUHDOO\
    VWRRGRXW7KHYLFHSUHVLGHQWORRNHGDWWKLVGDWDDQGVDLG 7KLVLVZKHUH
    ZHQHHGWREHZRUNLQJ,IZHFDQPDNHDGLIIHUHQFHKHUHZHFDQPDNHD
    GLIIHUHQFH 
KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH   Exhibit 77, page 21                         
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 26 of 60 PAGEID #: 3097
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


    &RQFHQWUDWLQJRQFROOHJHFDPSXVHVPDGHVHQVHIRUWKHDGPLQLVWUDWLRQDV
    WKHZRPHQDWULVNZHUHRIFROOHJHDJHDQGLWZDVDOVRZKHUHWKH
    DGPLQLVWUDWLRQKDGVRPHGLUHFWFRQWURO7KHIHGHUDOJRYHUQPHQWKDVQR
    MXULVGLFWLRQRYHUUDSHH[SODLQV6HQDWRU&ODLUH0F&DVNLOODIRUPHUVH[
    FULPHVSURVHFXWRUZKRLVOHDGLQJWKHFKDUJHRQDELOOWRVWUHQJWKHQWKH
    SURFHVVE\ZKLFKFROOHJHVPHDVXUHDQGUHSRUWLQFLGHQWVRIVH[XDODVVDXOW
    %XWLWKDVMXULVGLFWLRQRYHUFDPSXVVH[XDODVVDXOWYLD7LWOH,;

    7KH'HDU&ROOHDJXHOHWWHUZDVWKHILUVWWLPHWKHDGPLQLVWUDWLRQ
    FDOOHGVH[XDOYLROHQFHVSHFLILFDOO\DFLYLOULJKWVLVVXHVD\V&DWKHULQH
    /KDPRQWKHFXUUHQWDVVLVWDQWVHFUHWDU\IRUFLYLOULJKWVDWWKH'HSDUWPHQW
    RI(GXFDWLRQ$QGLQWKUHDWHQLQJWRFXWRIIIXQGLQJWRDFROOHJHRU
    XQLYHUVLW\WKDWWKH2&5GHWHUPLQHGZDVXQDEOHRUXQZLOOLQJWRHQIRUFH
    7LWOH,;WKHDGPLQLVWUDWLRQOLWHUDOO\PDGHDIHGHUDOFDVHRIFDPSXVUDSH
    &ROOHJHDGPLQLVWUDWRUVZHUHRIILFLDOO\RQQRWLFHDQGWKHVWDNHVIRU
    QRQFRPSOLDQFH²ORVVRIPRQH\WRFRYHUILQDQFLDODLGDQGVFLHQWLILF5 '
    DPRQJRWKHUIHGHUDOIXQGVDVZHOODVWKHYHU\EDGSXEOLFLW\WKDWFRPHV
    ZLWKEHLQJRQWKH2&5 VKLWOLVW²FRXOGQ WEHKLJKHU

    ,QDGGLWLRQWRUHTXLULQJHYHU\FROOHJHWRHPSOR\DGHGLFDWHG7LWOH,;
    FRRUGLQDWRUWRRYHUVHHFRPSOLDQFHWKH'HDU&ROOHDJXHOHWWHU
    UHFRPPHQGHGVFKRROVSURYLGHKROLVWLFDQGFRPSUHKHQVLYHYLFWLP
    VHUYLFHVWRDFFXVHUV FRXQVHOLQJHWF DQGVWLSXODWHGWKDWFROOHJHVPXVW
    DSSO\DSUHSRQGHUDQFHRIWKHHYLGHQFHVWDQGDUGWRLWVSURFHHGLQJV
    UDWKHUWKDQWKHKLJKHUFOHDUDQGFRQYLQFLQJVWDQGDUGRUHYHQWKHKLJKHVW
    EH\RQGDUHDVRQDEOHGRXEWVWDQGDUGXVHGLQFULPLQDOFDVHV $OWKRXJK
    VRPHH[SHUWVHVWLPDWHWKDWSHUFHQWRIFROOHJHVZHUHDOUHDG\XVLQJWKH
    SUHSRQGHUDQFHRIWKHHYLGHQFHVWDQGDUGSULRUWRLWEHFDPHWKH
    QDWLRQDOVWDQGDUGWKHUHDIWHU 7KHSUHSRQGHUDQFHVWDQGDUGGLFWDWHVWKDW
KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH   Exhibit 77, page 22                         
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 27 of 60 PAGEID #: 3098
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


    DQ\MXGJHRUMXU\EHRQO\SHUFHQWVXUHWKDWWKHDFFXVHGLVUHVSRQVLEOH
    DQGLWW\SLFDOO\DSSOLHVWRFLYLOFDVHVLQZKLFKPRQHWDU\GDPDJHV UDWKHU
    WKDQMDLOWLPH DUHZKDW VDWVWDNH

                                                     ADVERTISEMENT - CONTINUE READING BELOW




    :KLOHDGYRFDWHVRIWKHVKLIWWRSUHSRQGHUDQFHVD\LWPHUHO\EURXJKW
    FDPSXVLQYHVWLJDWLRQVLQOLQHZLWKRWKHU7LWOH,;LQYHVWLJDWLRQVDQGFLYLO
    SURFHHGLQJVLWDOVRFRQVLGHUDEO\ORZHUHGWKHEDUIRUDFKLHYLQJDILQGLQJRI
    UHVSRQVLEOHRUJXLOW\DJDLQVWWKHDFFXVHG,WVKRXOGQRWEHKDUGHUIRUD
    YLFWLPWRSURYHWKDWVKHZDVDVVDXOWHGWKDQLWLVIRUWKHSHUVRQVKH V
    DFFXVLQJWRSURYHWKHDVVDXOWGLGQ WRFFXUH[SODLQV6RNRORZ$
    SUHSRQGHUDQFH>VWDQGDUG@FUHDWHVDOHYHOSOD\LQJILHOGZKHUHDVZLWKDQ\
    KLJKHUVWDQGDUGLWWHFKQLFDOO\SULYLOHJHVPHQ,WPDNHVLWKDUGHUIRUD
    YLFWLPWRSURYHWKDWDPDOHDVVDXOWHGKHU%HVLGHV6RNRORZVD\V
    &ROOHJHVDUHQ WUHDOO\DGGUHVVLQJUDSH7KH\ UHDGGUHVVLQJVH[XDOYLROHQFH
    DVDFLYLOULJKWVYLRODWLRQDQGDVDIRUPRIGLVFULPLQDWLRQDQGWKHLU
    GHILQLWLRQVDUHPXFKEURDGHU




KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH             Exhibit 77, page 23               
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 28 of 60 PAGEID #: 3099
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\



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      STEPHEN KING WROTE A CAMPAIGN                                    BILL CLINTON PROBABLY HAS DONALD
      SLOGAN FOR DONALD TR…                                            TRUMP ON SPEED DI…


    7KLVVKLIWKHOSHGVSXUUHSRUWVWRFDPSXVDXWKRULWLHV²E\QHDUO\
    SHUFHQWZLWKWKHQXPEHURIVH[XDODVVDXOWUHSRUWVRQFROOHJHFDPSXVHV
    DFURVVWKHFRXQWU\MXPSLQJIURPLQWRLQ $W
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    LQWRVL[W\IRXULQ +RZHYHUWKHUHZDVQRFRPSDUDEOHVKLIWLQ
    WKHQXPEHURIUHSRUWVWRWKHSROLFH,WVKRXOGVXUSULVHQRRQHWKDW
    VWXGHQWVDUHFKRRVLQJWRJRWRFROOHJHVEHIRUHFULPLQDODXWKRULWLHVVD\V
    -RVHSK&RKQWKHSROLF\GLUHFWRUZLWKWKH)RXQGDWLRQIRU,QGLYLGXDO
    5LJKWVLQ(GXFDWLRQ ),5( DQDGYRFDF\JURXSIRUIUHHVSHHFKDQGGXH
    SURFHVVULJKWVRQFDPSXV&RPSODLQDQWVDUHEHLQJWROGE\ZHOO
    LQWHQWLRQHGYLFWLPV DGYRFDWHVWKDWODZHQIRUFHPHQWGRHVQ WUHDOO\KDYHDQ
    LQWHUHVWLQGRLQJWKLVIRU\RXDQG\RX OOEHSXWXQGHULQWHQVHVFUXWLQ\DQG
    WKH\ OOFURVVH[DPLQH\RXDQGWKH\ZRQ WEHOLHYH\RX2QFDPSXVWKHUH VD
    ORZHUVWDQGDUGRIHYLGHQFHDQG\RX OOJHWDPXFKHDVLHURXWFRPHZLWK
    PXFKOHVVVFUXWLQ\,QD6HQDWHURXQGWDEOHRQVH[XDODVVDXOWODVW\HDU
    $OH[DQGUD%URGVN\DSURPLQHQWVH[XDODVVDXOWDFWLYLVWDQGKHUVHOID
    VH[XDODVVDXOWVXUYLYRUFRQILUPHGDVPXFK:KHQ,UHSRUWHGYLROHQFHWR
    P\VFKRROILYHVL[\HDUVDJRQRZ,ZDVH[SOLFLWO\WROGQRWWRJRWRWKH

KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH        Exhibit 77, page 24                    
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 29 of 60 PAGEID #: 3100
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


    SROLFH²WKDWLWZRXOGQ WEHZRUWKLWDQGZRXOGEHHPRWLRQDOO\GUDLQLQJ«
    ,NQRZ,ZRXOGQHYHUKDYHFRPHIRUZDUGLI,KDGEHHQIRUFHGLQWRWKDW
    RSWLRQ

    ,QWKHFDVHRI-RKQDQG-DQHKRZWKH/$3'DQGWKHGLVWULFWDWWRUQH\ V
    RIILFHLQWHUSUHWHGDQGDFWHGRQWKHHYLGHQFHZRXOGKDYHQREHDULQJRQWKH
    FDPSXVLQYHVWLJDWLRQ2FFLGHQWDOXVLQJLWVRZQVWDQGDUGRISURRIDQGLWV
    RZQSROLFLHVDQGGHILQLWLRQVZDVLQFKDUJH




    ,ZHQWLQWRPRQNPRGH-RKQVD\VRIWKHGD\VDQGZHHNVIROORZLQJ
    -DQH VIRUPDOFRPSODLQW/LNH, PMXVWQRWJRQQDIHHOWKLQJVZKLFKLV
    HDVLHUVDLGWKDQGRQH«/LNH, PQLQHWHHQ,MXVWOHIWKRPH0\PRP V
    SRULQJRYHUGHWDLOVRIPHKDYLQJVH[XDOLQWHUFRXUVHZLWKDJLUO,IHOWOLNH,
    ZDVDNLGWKDWJRWFRPSOHWHO\WKURZQDURXQGE\DEXQFKRISHRSOHZLWK
    KLJKSRZHUHGGRFWRUDWHGHJUHHVDQGDORWRILQVWLWXWLRQDOSRZHU

    -RKQZDVEHLQJLQYHVWLJDWHGIRUWZRSRWHQWLDOYLRODWLRQVRIWKHVFKRRO V
    VWXGHQWFRQGXFWFRGH²VH[XDODVVDXOWDQGQRQFRQVHQVXDOVH[XDOFRQWDFW
      7KHIRUPHULVGHILQHGE\2FFLGHQWDODVKDYLQJRUDWWHPSWLQJWRKDYH
    VH[XDOLQWHUFRXUVHZLWKDQRWKHULQGLYLGXDOE\IRUFHRUWKUHDWRIIRUFH
    ZLWKRXWHIIHFWLYHFRQVHQWRUZKHUHWKDWLQGLYLGXDOLVLQFDSDFLWDWHGWKH
    ODWWHULVDEURDGHUGHILQLWLRQDQGHQFRPSDVVHVLQDSSURSULDWHWRXFKLQJ
    NLVVLQJDQGWKHOLNH +HDOVRUHFHLYHGDVWD\DZD\OHWWHUIURPWKH
    VFKRRO VGHDQRIVWXGHQWV RIILFHGLUHFWLQJKLPWRDYRLGFRQWDFWZLWK-DQH
    2QDVPDOOFDPSXVRIWZRWKRXVDQGSHRSOHKHVD\VHYHU\RQHNQHZ,
    ZRXOGJHWGHDWKVWDUHVGDLO\-DQHDFFRUGLQJWRKHUDWWRUQH\VDQG
    LQYHVWLJDWRUVFRQWLQXHGWRVWUXJJOHZLWKDQ[LHW\DQGIHDUZLWK'LUNV
    UHSRUWLQJ-DQHWHOOLQJKHUWKDWDWRQHSRLQW>VKH@VDWXQDEOHWRPRYHIRU
KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH   Exhibit 77, page 25                         
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 30 of 60 PAGEID #: 3101
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


    WZHQW\PLQXWHVRQDEHQFKRQFDPSXV

    7KHFROOHJHKLUHGDQRXWVLGHDJHQF\3XEOLF,QWHUHVW,QYHVWLJDWLRQVWR
    RYHUVHHLWVLQTXLU\ZLWKWZRLQGHSHQGHQWLQYHVWLJDWRUVLQWHUYLHZLQJWHQ
    ZLWQHVVHVLQFOXGLQJ-DQH-RKQGHFOLQHGWRVSHDNZLWKWKHPDOWKRXJKKH
    DQG-DQHERWKDJUHHGWRWXUQRYHUWKHLUWH[WV$W2FFLGHQWDODVDWPDQ\
    FROOHJHVQHLWKHUWKHDFFXVHGQRUWKHDFFXVHULVSHUPLWWHGWRKDYHDQ
    DWWRUQH\SUHVHQWGXULQJTXHVWLRQLQJZKLFKFDPSXVDXWKRULWLHVEHOLHYHLV
    WKHEHVWZD\WRNHHSELFNHULQJDQGEORZKDUGVRXWRIZKDW VVXSSRVHGWREH
    DSULYDWHVSHHG\GHOLEHUDWLRQ+RZHYHUDQ\WHVWLPRQ\JLYHQWRWKH
    SULYDWHLQYHVWLJDWRUVFDQEHFRQVLGHUHGIDLUJDPHLQFULPLQDO
    LQYHVWLJDWLRQVDQGEHFDXVHRIWKH/$3'LQTXLU\-RKQ VDWWRUQH\DGYLVHG
    KLPWRGHFOLQHWREHLQWHUYLHZHGE\FDPSXVLQYHVWLJDWRUV

    -RKQDQG-DQHZHUHHDFKDEOHWRFKRRVHDQDGYLVRUWRKHOSJXLGHWKHP
    WKURXJKWKHSURFHVVDQG-DQH VZDV0RYLQGUL5HGG\WKHSURIHVVRUZKR
    KDGILUVWSXWKHULQWRXFKZLWK'DQLHOOH'LUNV-RKQKRZHYHUKDGDPRUH
    GLIILFXOWWLPHWU\LQJWRILQGVRPHRQH, PDWDQHZSODFHDQG,GRQ WNQRZ
    DQ\RIWKHVWDII0\ODZ\HUSXOOHGXSDOLVWRISHRSOHZLWK7LWOH,;WUDLQLQJ
    EHFDXVHWKH\ZHUHWKHRQO\RQHVZKRFRXOGVHUYHDVDGYLVRUV,MXVWNLQGRI
    ZHQWGRZQWKHOLVW0RVWRIWKHSHRSOH,DVNHGVDLGQR )LYH2FFLGHQWDO
    VWDIIHUVGHFOLQHGWREHKLVDGYLVRU (YHQWXDOO\,IRXQGDQLFHODG\ZKR
    ZRUNHGLQGLQLQJVHUYLFHVWRVLWZLWKPH6KH GSUHYLRXVO\VHUYHGRQD
    SDQHODQGVKHVDLGP\FKDQFHVRIZLQQLQJZHUHH[WUHPHO\JRRG

    $FFRUGLQJWRFROOHJHSROLF\)RUPDOUHVROXWLRQRIDFRPSODLQW«ZLOO
    RFFXUWKURXJKWKHXVHRID&RQGXFW&RQIHUHQFH²ZKLFKLVUHFRPPHQGHG
    IRUXQFRQWHVWHGDFFXVDWLRQV²RUD+HDULQJ3DQHO«ZKLFKW\SLFDOO\
    FRQVLVWVRIWKUHHPHPEHUVGUDZQIURPDSRRORIWUDLQHGIDFXOW\DQG

KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH   Exhibit 77, page 26                         
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 31 of 60 PAGEID #: 3102
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


    FDPSXVDGPLQLVWUDWRUV+RZHYHU2FFLGHQWDOGHWHUPLQHGWKDW-RKQ
    ZRXOGQRWIDFHDKHDULQJSDQHOEXWUDWKHUDVLQJOHH[WHUQDODGMXGLFDWRU
    0DULORX0LUNRYLFKDORFDOODZ\HUVSHFLDOL]LQJLQHPSOR\PHQWODZ
      2FFLGHQWDO VSROLF\SHUPLWVLWWRDSSRLQWDQH[WHUQDODGMXGLFDWRUDWLWV
    VROHGLVFUHWLRQ,WGHFOLQHGWRH[SODLQLWVGHFLVLRQHLWKHUWR-RKQ VDWWRUQH\
    RUWR(VTXLUH

                                                     ADVERTISEMENT - CONTINUE READING BELOW




    7R0LUNRYLFKWKHKHDULQJQHHGHGWRUHVROYHIRXULVVXHV'LG-RKQDQG
    -DQHKDYHVH["'LG-DQHDWWKHWLPHRIWKHLQFLGHQWDSSHDUWRJLYH
    FRQVHQW":DV-DQHWRRGUXQN²DQGLQIDFWLQFDSDFLWDWHG²WRSURYLGH
    FRQVHQW"$QGGLG-RKQNQRZRUVKRXOGKHKDYHNQRZQWKDWVKHZDV
    LQFDSDFLWDWHG"-RKQDQG-DQHZHUHDOORZHGWRPDNHRSHQLQJVWDWHPHQWV
    :LWQHVVHVZHUHFDOOHGDQGTXHVWLRQHG$QG-RKQZKR GHQWHUHGWKH
    SURFHHGLQJVFRQILGHQWRIKLVFKDQFHVVD\VKHJUHZXQFRPIRUWDEOHDVWKH
    KHDULQJXQIROGHG,ZDVLQDURRPIXOORIZRPHQDQGWKHUH VDFU\LQJJLUO
    ZLWKDOHQJWK\VSHHFKDERXWKRZ,VH[XDOO\DVVDXOWHGKHUDQGVKHEURNH
    GRZQLQWHDUVKHVD\V$QGORRNLQJDURXQG,VDZWKHORRNRQDOOWKHVH
    ZRPHQ VIDFHVDQGWKH\ UHUHODWLQJ0\DGMXGLFDWRUKLUHGE\WKHVFKRRO,
    VDZWKHORRNRQKHUIDFHDQG, POLNH7KDW VQRWJRRG 2FFLGHQWDOKDVQR
    SROLF\DERXWWKHRSWLPDOPDOHIHPDOHEDODQFHRIVXFKSURFHHGLQJV
    PHDQLQJLQWKHRU\-DQHFRXOGMXVWDVHDVLO\KDYHEHHQSODFHGLQDURRP
    IXOORIPHQ


KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH             Exhibit 77, page 27               
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 32 of 60 PAGEID #: 3103
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\



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      REPUBLICAN CANDIDATES RANKED BY                                  BREAKING DOWN THE JADE HELM
      VERY IMPORTANT MET…                                              CLUSTERF*CK


    2YHUWKHFRXUVHRIWKHVL[DQGDKDOIKRXUSURFHHGLQJLWZDVTXLFNO\
    GHWHUPLQHGWKDW\HV-RKQDQG-DQHKDGVH[DQG\HVDWWKHWLPHYLDWH[W
    PHVVDJLQJLWZDVUHDVRQDEOHWRFRQFOXGHWKDW-DQHZDVJLYLQJFRQVHQW
    %XWZDV-DQHWRRGUXQNWRJLYHFRQVHQW²ZDVVKHLQIDFWLQFDSDFLWDWHG"
    $QGVKRXOG-RKQKDYHNQRZQWKDW-DQHZDVVRGUXQNWKDWKHUFRQVHQW
    ZDVTXHVWLRQDEOHGHVSLWHWKHIDFWWKDWKHKLPVHOIZDVMXVWDVGUXQN"

    7R-RKQWKRVHTXHVWLRQVEHJDQDQGHQGHGZLWKZKDWKHJOHDQHGIURPWKH
    VH[XDODVVDXOWRULHQWDWLRQ<RX UHLQFDSDFLWDWHGDQGXQDEOHWRJLYH
    FRQVHQWZKHQ\RX UHSDVVHGRXWDQG\RXSK\VLFDOO\FDQ WVSHDNRULQGLFDWH
    \HVRUQR7R6FRWW%HUNRZLW]WKHSUHVLGHQWRIWKH5DSH$EXVH ,QFHVW
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    XQDEOHWRUHVLVWRUXQDEOHWRVSHDN*HQHUDOO\LW VXQGHUVWRRGWRPHDQWKDW
    GUXJVRUDOFRKROKDYHKDGVXFKDQHIIHFWRQ>DYLFWLP@WKDWWKH\ UHQRWLQD
    SRVLWLRQWRH[SUHVVFRQVHQW7RWKHVWDWHRI&DOLIRUQLDLQFDSDFLWDWLRQ
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    RFFXUUHG


KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH        Exhibit 77, page 28                    
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 33 of 60 PAGEID #: 3104
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


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    KHOSOHVV$QLQGLYLGXDOLVLQFDSDFLWDWHGDQGWKHUHIRUHXQDEOHWRJLYH
    FRQVHQWLIVKHLVDVOHHSXQFRQVFLRXVRURWKHUZLVHXQDZDUHWKDWVH[XDO
    DFWLYLW\LVRFFXUULQJ«(YDOXDWLQJLQFDSDFLWDWLRQUHTXLUHVDQDVVHVVPHQW
    RIKRZWKHFRQVXPSWLRQRIDOFRKRODQGRUGUXJVLPSDFWDQLQGLYLGXDO V
    GHFLVLRQPDNLQJDELOLW\DZDUHQHVVRIFRQVHTXHQFHVDELOLW\WRPDNH
    LQIRUPHGMXGJPHQWVRUFDSDFLW\WRDSSUHFLDWHWKHQDWXUHDQGTXDOLW\RI
    WKHDFW

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    +RZHYHU0LUNRYLFKDOVRFRQFOXGHGWKDWEHFDXVHPXOWLSOHZLWQHVVHV
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    >-DQH V@GHFLVLRQPDNLQJDELOLW\ZDVVLJQLILFDQWO\LPSDLUHG«>6KH@ZDV
    QRWDZDUHRIWKHFRQVHTXHQFHVRIKHUDFWLRQDQGVKHGLGQRWKDYHWKH
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    WKRXJK-RKQZDVPRUHLQWR[LFDWHGWKDQKHKDGHYHUEHHQDQGWKDWWKLV
    OHYHORILQWR[LFDWLRQVRLPSDLUHG>-RKQ V@DELOLW\WRDVVHVV>-DQH V@
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KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH   Exhibit 77, page 29                         
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 34 of 60 PAGEID #: 3105
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


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    GLFWDWHGWKDWEHLQJLQWR[LFDWHGRULPSDLUHGE\GUXJVRUDOFRKROLVQHYHU
    DQH[FXVHIRUVH[XDOKDUDVVPHQWVH[XDOYLROHQFH«DQGGRHVQRWGLPLQLVK
    RQH VUHVSRQVLELOLW\WRREWDLQFRQVHQW,IDVREHUSHUVRQZRXOGKDYH
    NQRZQWKDW-DQHZDVWRRGUXQNWRNQRZZKDWVKHZDVGRLQJ0LUNRYLFK
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    KDGUHIXVHGWRUHOHDVHDWUDQVFULSWRIWKHKHDULQJVRDOORI0LUNRYLFK V
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    PDQ\FROOHJHVKDGDYDULHW\RIRSWLRQVIRUSXQLVKPHQWVUDQJLQJIURP
    FRPPXQLW\VHUYLFHDQGFHQVXUHWRH[SXOVLRQ ,QWKH&HQWHUIRU
    3XEOLF,QWHJULW\IRXQGWKDWDPHUHWRSHUFHQWRIVWXGHQWVIRXQG
    UHVSRQVLEOHIRUVRPHGHJUHHRIVH[XDODVVDXOWZHUHH[SHOOHG2FFLGHQWDO
    IRULWVSDUWRQFHDVVLJQHGDERRNUHSRUWWRDVWXGHQWIRXQGUHVSRQVLEOHIRU
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    ,ZDVLQVKRFN-RKQVD\VQRZ,ZHQWIURP7KHUH VQRZD\,FRXOGORVH
    WR:RZRND\, PJRLQJWREHOLYLQJZLWKP\IDPLO\DJDLQ8QGHU
    2FFLGHQWDO VV\VWHPERWKVWXGHQWVFDQDSSHDOWKHGHFLVLRQRQWKHJURXQGV
    RISURFHGXUDOHUURUVRUWKHH[LVWHQFHRIQHZHYLGHQFH,QKLVDSSHDO-RKQ
    FLWHGDPRQJRWKHUIDFWRUVWKHDOOIHPDOHPDNHXSRIWKHGHOLEHUDWLRQVDQG
    'DQLHOOH'LUNV VSRWHQWLDOO\SUHMXGLFLDOVWDWHPHQWVLQWKHLQYHVWLJDWRUV
    UHSRUW ZKLFK'LUNVKHUVHOIQRZGLVSXWHV EXWWKHFROOHJHIRXQGQRQHRI
    KLVREMHFWLRQVTXDOLILHG

    ,WZDVWKHPLGGOHRI'HFHPEHUZLWKZLQWHUEUHDNORRPLQJDQG-RKQKDG

KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH   Exhibit 77, page 30                         
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 35 of 60 PAGEID #: 3106
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


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    SUHYLRXVO\FRQVLGHUHGDWWHQGLQJDQGWKHFROOHJHDJUHHGWRWDNHKLP
    XQDZDUHRIZKDWKDGKDSSHQHGDW2FFLGHQWDO,WZDVQRWDZRUOGFODVV
    LQVWLWXWLRQEXWLWZRXOGDOORZKLPWRFRQWLQXHKLVHGXFDWLRQZKLOHKLV
    ODZ\HUSORWWHGKLVQH[WPRYH+HDUULYHGRQWKHILUVWGD\LQ-DQXDU\MXVWD
    IHZZHHNVDIWHUKLVH[SXOVLRQIURP2FFLGHQWDODQGLPPHGLDWHO\KH
    VD\V,JHWFDOOHGLQWRWKHGHDQ VRIILFH7KH\VDLG :HJRWDQDQRQ\PRXV
    FDOO+DYH\RXEHHQH[SHOOHGIURP2FFLGHQWDOIRUVH[XDODVVDXOW" ,ZDV
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KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH             Exhibit 77, page 31               
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 36 of 60 PAGEID #: 3107
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


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      ACTIVE SHOOTER SHOT DEAD BY POLICE                               MITCH MCCONNELL WANTS TO END ALL
      AT TENNESSEE MO…                                                 THIS REPUBLICAN D…


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    DQG-RKQDUHUHGDFWHGWKRXJKQRQHRIWKHZLWQHVVHVDUHVRIRUWXQDWH
    $IWHUWKHGRFXPHQWVEHFDPHSXEOLFRQHRIWKHIHPDOHZLWQHVVHVGHVFULEHG
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    :KDWNLQGRIDUDGLFDOIXFNLQJPDQKDWLQJG\NHDUH\RX"DQG3OHDVH
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    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 37 of 60 PAGEID #: 3108
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


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    ZULWLQJWHOOVDIULHQGVKHLVJRLQJWRKDYHVH[LQZULWLQJDVNVIRUDFRQGRP
    DJDLQZKHQVKHJHWVWRWKHURRPWHOOVIULHQGVVKHLV ILQH ZKHQVKHLV
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    WKHVHWH[WVZRXOGWKLQNVKH VIXOO\FDSDEOHRIFRQVHQWLQJ7KHFRXUWLV
    H[SHFWHGWRLVVXHLWVILQDOGHFLVLRQLQ0D\EXW&KDOIDQWJUDQWHG-RKQ V
    UHTXHVWIRUDVWD\:K\ZRXOGQ WLWEHLQWKHSXEOLFLQWHUHVWWRVWD\WKLV
    VFDUOHWOHWWHUWKDW VEHLQJDWWDFKHGWRKLVWUDQVFULSWXQWLOVXFKDWLPHDV
    WKHUHLVDILQDOGHFLVLRQRQWKHPHULWV"

    $IHZZHHNVDIWHUILOLQJZLWKWKH6XSHULRU&RXUWLQDQDSSDUHQWHIIRUWWR
    VKRZ2FFLGHQWDO VLQFRQVLVWHQWDSSOLFDWLRQRILWVRZQVH[XDODVVDXOW
    SROLFLHV-RKQILOHGDVH[XDODVVDXOWFRPSODLQWDJDLQVW-DQH'RHZLWK
    2FFLGHQWDO+HFODLPHGVKHGLGQRWREWDLQKLVFRQVHQWSULRUWRSHUIRUPLQJ
    RUDOVH[RQKLP²DVKHGRHVQ WHYHQUHFDOOWKLVKDSSHQLQJDQGQRERG\
KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH   Exhibit 77, page 33                         
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 38 of 60 PAGEID #: 3109
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


    HYHUDVNHG-DQHZKHWKHUVKHUHFHLYHGFRQVHQWIURP-RKQKHEHOLHYHVLW
    VKRXOGEHVXEMHFWWRWKHVDPHVFUXWLQ\XQGHUZKLFKKHZDVLQYHVWLJDWHG
      6H[XDOLQWHUFRXUVHDVLW VGHILQHGLQWKH2FFLGHQWDOSROLF\LQFOXGHVRUDO
    VH[DQGWKHUHLVQRVWDWXWHRIOLPLWDWLRQVRQZKHQDQDFFXVHUFDQILOHD
    FODLP +RZHYHUEHFDXVHKHZRXOGQRWPHHWZLWKWKHXQLYHUVLW\ V
    LQYHVWLJDWRUZLWKRXWKLVDWWRUQH\SUHVHQW²MXVWDVKHZRXOGQ WPHHWZLWK
    WKHLQYHVWLJDWRUGXULQJWKHHDUOLHULQYHVWLJDWLRQZLWKRXWKLVDWWRUQH\
    SUHVHQW²WKHVFKRROGHFOLQHGWRKHDUKLVFRPSODLQWFLWLQJKLV
    LQFRQVLVWHQWDVVHUWLRQVWKHWLPLQJRI>KLV@FRPSODLQWDQG>KLV@IDLOXUHWR
    FRRSHUDWHLQWKHLQLWLDODVVHVVPHQWSURFHVV

    :LWK2FFLGHQWDOUHIXVLQJWRLQYHVWLJDWH-RKQ VDFFXVDWLRQRIVH[XDO
    DVVDXOW-RKQ VODZ\HUWKHQILOHGD7LWOH,;FRPSODLQWDJDLQVW2FFLGHQWDO
    ZLWKWKH2IILFHIRU&LYLO5LJKWVLQPLG2FWREHU7KH2&5ZKLFKUHFHLYHV
    PDQ\FRPSODLQWVEXWRQO\FRPPLWVIXOOLQYHVWLJDWLRQVWRDIUDFWLRQRI
    WKHPKDV\HWWRGHWHUPLQHZKHWKHULWZLOOORRNLQWR-RKQ VFDVH

                                                                                                                   


                                                                                                                   
    2FFLGHQWDOVWXGHQWVRQVH[XDODVVDXOWDZDUHQHVVQLJKWWKHGD\DIWHUVWXGHQWVDQGDOXPQL
    ILOHGWKHLU7LWOH,;FRPSODLQW
    ESQUIRE + EMILY SHUR

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KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH             Exhibit 77, page 34                   
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 39 of 60 PAGEID #: 3110
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\




    7KHFXUUHQWV\VWHPLVRQWKHZKROHSRRUDQGLPSURYLQJVD\V
    6RNRORZWKHULVNPDQDJHPHQWFRQVXOWDQWZKLFKWXUQVRXWWREHWKH
    QLFHVWWKLQJDQ\ERG\KDVWRVD\DERXWKRZFROOHJHVDUHKDQGOLQJVH[XDO
    DVVDXOWDOOHJDWLRQV 7KHQHZGRFXPHQWDU\7KH+XQWLQJ*URXQGFDSWXUHV
    WKHDSSDOOLQJDQGXQHWKLFDOZD\VWKDWPDQ\FROOHJHVFRQWLQXHWRWUHDW
    ZRPHQZKRUHSRUWVH[XDODVVDXOWV 7KH'HSDUWPHQWRI(GXFDWLRQKDV
    FUHDWHGDVTXDUHSHJURXQGKROHSKHQRPHQRQE\DVNLQJFROOHJHVWRWDNH
    RQDIXQFWLRQWKDWLVVLPSO\QRWLQQDWHRULQWXLWLYHIRUWKRVHZKRZRUNRQ
    FROOHJHFDPSXVHV$QG,WKLQNZKDW VKDSSHQLQJRQDORWRIFDPSXVHVLV
    WKH\ UHIHHOLQJWKHSUHVVXUHRI2&5WRSXVKWKLQJVIRUZDUGWKDWUHDOO\
    VKRXOGQRWEH


    MORE FROM ESQUIRE




      FRIEDMAN ASKS A QUESTION, WE ASK 10                              CRAWLING FROM THE WRECKAGE


    7KHVHLQYHVWLJDWLRQVDUHKDUGWRGRHYHQIRUWUDLQHGODZHQIRUFHPHQW
    SURIHVVLRQDOVVD\V%HUNRZLW]RI5$,116RPDQ\VFKRROVWXUQWKHP
    RYHUWRSHRSOHZLWKPLQLPDOWUDLQLQJDQGWKHSURFHVVLVMXVWVHWXSLQVXFK
    DZD\WKDWLW VUHDOO\KDUGWRLQYHVWLJDWHWKHWUXWKRIWKHFULPHV$QG
    FROOHJHVMXVWDUHQRWYHU\JRRGDWLW


KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH        Exhibit 77, page 35                    
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 40 of 60 PAGEID #: 3111
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


    ,PDJLQHDVWXGHQWLVPXUGHUHGRQDFROOHJHFDPSXVVD\V'DYLG/LVDND
    SV\FKRORJLVWZKRKDVVWXGLHGVH[XDODVVDXOW²LQFOXGLQJFDVHVDWFROOHJHV
    DQGLQWKHPLOLWDU\²IRUPRUHWKDQWZRGHFDGHV1RERG\WKLQNVWKDW
    FROOHJHVVKRXOGLQYHVWLJDWHDQGDGMXGLFDWHWKHFDVH:HOOUDSHLVUHDOO\QRW
    WKDWPXFKOHVVVHULRXV5DSHLVDYHU\VHULRXVYLROHQWFULPH«VRGR,
    WKLQNWKDWXQLYHUVLWLHVDUHHTXLSSHGULJKWQRZWRGRDSURSHU
    LQYHVWLJDWLRQ"1R

    8QGHUWKHFXUUHQWJXLGHOLQHVUHFRPPHQGHGE\WKH2IILFHIRU&LYLO5LJKWV
    VFKRROVKDYHFRQVLGHUDEOHOHHZD\LQKRZWKH\VWUXFWXUHWKHLULQYHVWLJDWLRQ
    DQGDGMXGLFDWLRQSURFHVVHV6RPHUHO\RQPXOWLSHUVRQKHDULQJSDQHOVDQG
    VRPHUHO\RQZKDW VFDOOHGWKHVLQJOHLQYHVWLJDWRUPRGHOVRPHFROOHJHV
    KDYHPRUHH[SDQVLYHGHILQLWLRQVRIDVVDXOWWKDQRWKHUV$QGVRPHSURYLGH
    PRUHSURWHFWLRQVWRWKHDFFXVHGWKDQRWKHUVDQLVVXHWKDWKDVJDLQHG
    SURPLQHQFHDVLQFUHDVLQJQXPEHUVRIDFFXVHGVWXGHQWVILOHODZVXLWV
    DJDLQVWWKHLUIRUPHUFROOHJHVIRUXQIDLUKHDULQJV

    /DVW2FWREHUWZHQW\HLJKWSURIHVVRUVDW+DUYDUG/DZ6FKRROZURWHDQRS
    HGLQ7KH%RVWRQ*OREHGHWDLOLQJWKHLUREMHFWLRQVWR+DUYDUG VUHFHQWO\
    HQDFWHGVH[XDODVVDXOWSROLFLHVZKLFKWKH\EHOLHYHODFNWKHPRVWEDVLF
    HOHPHQWVRIIDLUQHVVDQGGXHSURFHVVDUHRYHUZKHOPLQJO\VWDFNHGDJDLQVW
    WKHDFFXVHGDQG«>MHWWLVRQ@EDODQFHDQGIDLUQHVVLQWKHUXVKWRDSSHDVH
    FHUWDLQIHGHUDODGPLQLVWUDWLYHRIILFLDOV +DUYDUG VSROLFLHVDOLJQZLWK
    ERWKWKHJXLGHOLQHVLVVXHGE\WKH2&5DQG2FFLGHQWDO VSROLFLHV 2QHRI
    WKHVLJQHUV1DQF\*HUWQHUZULWLQJUHFHQWO\LQ7KH$PHULFDQ3URVSHFW
    DQGGHVFULELQJKHUVHOIDVDQXQUHSHQWDQWIHPLQLVWDUJXHGWKDWMXVW
    EHFDXVHWKHOHJDOV\VWHPKDVPRYHGDZD\IURPWKHYLHZWKDWDOOUDSH
    DFFXVDWLRQVDUHFRQWULYHGGRHVQRWPHDQLWPXVWPRYHWRWKHYLHZWKDW
    QRQHDUH
KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH   Exhibit 77, page 36                         
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 41 of 60 PAGEID #: 3112
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


    -DQHW+DOOH\DQRWKHUFRVLJQHUDQGDSURPLQHQWIHPLQLVWOHJDOVFKRODU
    H[SODLQHGWKHODUJHULVVXHWKLVZD\7KLQJQXPEHURQH:HZDQWWRKDYH
    ZRUNSODFHVDQGHGXFDWLRQDOVHWWLQJVZKHUHVH[XDODEXVHLVDEVHQWVKH
    VD\VE\SKRQHIURP

    KHURIILFHLQ&DPEULGJH7KLQJQXPEHUWZR:KHQZH UHFKDUJLQJ
    VRPHERG\ZLWKDYLRODWLRQRIQRUPVWKDWDUHPRUDOO\DQGOHJDOO\
    LPSRUWDQWZHQHHGWRXQGHUVWDQGWKDWZHDUHEULQJLQJDPDMRUDFFXVDWLRQ
    DJDLQVWWKHPRQHWKDWFDQGHVWUR\WKHLUFDUHHUWKHLUSHDFHRIPLQGDQG
    WKHLUUHSXWDWLRQ$QGWKUHHZHQHHGWRUHPHPEHUWKDWWKHOHJLWLPDF\RI
    WKHVH[KDUDVVPHQWV\VWHPZLOOEHVTXDQGHUHGLIZHGRQ WWU\WRGRERWK

    +DOOH\ILQGVIDXOWZLWKPDQ\RI+DUYDUG VSROLFLHVLQFOXGLQJWKH
    SUHSRQGHUDQFHVWDQGDUG(YHU\OHJDOOHYHUKDVEHHQWLFNHGLQWKH
    GLUHFWLRQRIWKHDFFXVHUDQGDJDLQVWWKH>DFFXVHG@«,WKLQNLW VDOPRVWLQ
    EDGIDLWKWREHDUJXLQJWKDWZH QHHG >WKHSUHSRQGHUDQFHVWDQGDUG@
    EHFDXVHZHKDYHWRJHWHTXDOLW\RIWKHSDUWLHV,W VFDOOHGJRLQJWRRIDU
    :KDW VPRUHVKHGRHVQ WEX\WKHLGHDWKDWEHFDXVHWKHUHLVQRSURVSHFWRI
    ORVLQJRQH VOLEHUW\WKHSUHSRQGHUDQFHVWDQGDUGLVDSSURSULDWH7KHLGHD
    WKDWZKDWZH UHWDONLQJDERXWKHUHLVMXVWDFLYLOVDQFWLRQWKHHTXLYDOHQWRI
    PRQH\GDPDJHVLVXQUHDOWRPH:KHQZHH[SHORUVXVSHQGDVWXGHQWDQG
    SXWWKDWRQWKHWUDQVFULSWLW VJRLQJWREHYHU\KDUGIRUWKDWSHUVRQWRJR
    WRDQ\RWKHULQVWLWXWLRQRIKLJKHUHGXFDWLRQ ,QDOHWWHUUHEXWWLQJ-RKQ V
    DSSHDOWR2FFLGHQWDO-DQH VODZ\HUVZURWH0V-DQH'RHZDVUDSHGE\«
    -RKQ'RHFLWLQJWKHDGMXGLFDWRU VZHOOUHDVRQHGWKLUWHHQSDJH
    RSLQLRQZKLFKVXJJHVWVMXVWKRZHPSW\WKHGLVWLQFWLRQUHDOO\LVEHWZHHQ
    VH[XDODVVDXOWDVDEUHDFKRIVWXGHQWFRQGXFWDQGUDSHDVDFULPLQDO
    RIIHQVH


KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH   Exhibit 77, page 37                         
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 42 of 60 PAGEID #: 3113
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


    /LNHERWK+DOOH\DQG*HUWQHU-RVHSK&RKQRI),5(WKLQNVWKH
    SUHSRQGHUDQFHVWDQGDUGGRHVQ WUHIOHFWWKHWUXHJUDYLW\RIWKH
    FLUFXPVWDQFHVDQGVLQFH>WKHDFFXVHG@FDQSRWHQWLDOO\EHH[SHOOHGDQG
    EUDQGHGDUDSLVWWKHULJKWWRFRXQVHOLQWKHVHKHDULQJVVHHPVOLNHLW
    VKRXOGEHUHTXLUHG7KHUHFHQW9LROHQFH$JDLQVW:RPHQ$FW
    UHDXWKRUL]DWLRQLQFOXGHGDSURYLVLRQWKDWVWDUWLQJLQ-XO\DOOVFKRROV
    QHHGWRDOORZERWKVWXGHQWVWRKDYHWKHDGYLVRURIWKHLUFKRLFHLQFOXGLQJ
    ODZ\HUVWKURXJKRXWWKHSURFHVV+RZHYHULW VXSWRWKHVFKRROVZKHWKHU
    WKHODZ\HUFDQVSHDNRUQRWDQGDQ\ODZ\HUFRXOGHIIHFWLYHO\EHUHGXFHGWR
    ZKDWPRUHWKDQRQHH[SHUWKDVGHVFULEHGDVDSRWWHGSODQW

    :LWKDFWLYHSDUWLFLSDWLQJDWWRUQH\VFRPHVWKHSURVSHFWRIKHLJKWHQHG
    VFUXWLQ\RIHYHU\RQHLQYROYHG²LQFOXGLQJWKHDFFXVHUZKRDWSUHVHQWFDQ
    EHVKLHOGHGIURPKDYLQJWRDQVZHUTXHVWLRQVIURPHLWKHUWKHDFFXVHGRU
    WKHDFFXVHG VUHSUHVHQWDWLYH&ULWLFVRIWKHFXUUHQWV\VWHPEHOLHYHWKDW
    ZLWKRXWPHDQLQJIXOVFUXWLQ\WKURXJKFURVVH[DPLQDWLRQWKHUHLVQRZD\
    WRDFKLHYHDIDLWKIXOYHUGLFW6H[XDODVVDXOWDGYRFDWHVZLOODUJXH*HUWQHU
    ZURWHLQ7KH$PHULFDQ3URVSHFWLWZLOOEHWUDXPDWLFIRUWKH>DFFXVHU@WR
    FRQIURQW>WKHDFFXVHG@HYHQLIRQO\WKURXJKKHUUHSUHVHQWDWLYHVUDWKHU
    WKDQGLUHFWO\,WZLOOEHWUDXPDWLFIRUWKH>DFFXVHU@WREHDVNHGWRUHSHDW
    KHUVWRU\RYHUDJDLQ«7KHVHDUJXPHQWVKRZHYHUDVVXPHWKHRXWFRPH²
    WKDWWKH>DFFXVHU V@DFFRXQWLVWUXH²ZLWKRXWJLYLQJWKHDFFXVHGDQ
    RSSRUWXQLW\WRPHDQLQJIXOO\WHVWLW

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KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH             Exhibit 77, page 38               
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 43 of 60 PAGEID #: 3114
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


    2UDV&RKQSXWLW7KHZD\ZHVRUWWKURXJKIDFWDQGILFWLRQLQDQ\
    SURFHVVWKDW VIDLULVE\SXWWLQJDFFXVDWLRQVWKURXJKVFUXWLQ\:HFDQGR
    WKLQJVWKDWWU\WRPDNHLWOHVVGLIILFXOW>IRUWKHDFFXVHU@EXWLWFDQ WEH
    DYRLGHG1RERG\LVVXJJHVWLQJD'LG\RXRUGHUWKHFRGHUHG"OHYHORI
    TXHVWLRQLQJEXWPHUHO\DJXDUDQWHHWKDWWKHDFFXVHG RUKLV
    UHSUHVHQWDWLYH FDQDVNUHDVRQDEOHTXHVWLRQVRIWKHDFFXVHU LIQRWGLUHFWO\
    WKHQWKURXJKDUHSUHVHQWDWLYH DERXWWKHDFFXVDWLRQV$W2FFLGHQWDODVDW
    PDQ\FROOHJHVWKRVHDFFXVHGFDQVXEPLWTXHVWLRQVIRUWKHDFFXVHU DQG
    YLFHYHUVD WRWKHKHDULQJFRRUGLQDWRUZKRWKHQKDVWKHGLVFUHWLRQWR
    FKRRVHZKLFKTXHVWLRQVKHRUVKHZLOODVN-RKQVD\VWKDWRIWKHWKLUW\
    HLJKWTXHVWLRQVKHVXEPLWWHGWRKLVKHDULQJ VFRRUGLQDWRUWKHRQHVKH
    PRVWZDQWHGWKHFRRUGLQDWRUWRDVN²OLNHKRZ-DQHFRXOGUHPHPEHU
    SHUIRUPLQJRUDOVH[RQ-RKQEXWQRWUHPHPEHUKDYLQJLQWHUFRXUVHRU
    KRZVKHFRXOGUHPHPEHU-RKQWHOOLQJKHUZKLOHWKH\ZHUHKDYLQJ
    LQWHUFRXUVHWKDWKLVURRPPDWHKDGMXVWZDONHGLQRQWKHP\HWQRW
    DFWXDOO\UHPHPEHUKDYLQJLQWHUFRXUVH²ZHUHQHYHUDVNHGDQGQRERG\
    ERWKHUHGWRWHOOKLPZK\

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    3UHVLGHQW2EDPDVLJQLQJDPHPRHVWDEOLVKLQJWKH:KLWH+RXVH7DVN)RUFHWR3URWHFW
    6WXGHQWVIURP6H[XDO$VVDXOWLQ-DQXDU\
    ESQUIRE + EMILY SHUR




KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH   Exhibit 77, page 39                             
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 44 of 60 PAGEID #: 3115
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\




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      HERE ARE 15 THINGS THAT LOOK                                     CHRIS CHRISTIE ADMITS TO USING BIRTH
      SURPRISINGLY LIKE DON…                                           CONTROL, BOAS…




    7KHWKLQJLV7KHV\VWHPDVLWZDVGHVLJQHGDQGUHIRUPHGRYHUWKHSDVW
    IHZ\HDUVZRUNHGKHUH7KH2&5LQYHVWLJDWLRQRI2FFLGHQWDOFUHDWHGD
    FDPSXVZLGHKLVWRULFDOO\KLJKVHQVLWLYLW\WRDOOHJDWLRQVRIVH[XDODVVDXOW
    7KHFROOHJHH[HUFLVHGLWVGLVFUHWLRQEURDGO\ZLWKRXWWUDQVSDUHQF\²DORQH
    DGMXGLFDWRULQVWHDGRIWKHWKUHHSHUVRQSDQHODQH[SDQVLYHH[WUDOHJDO
    GHILQLWLRQRILQFDSDFLWDWLRQWKHVHOHFWLYHFKRLFHRIZKLFKTXHVWLRQV-DQH
    KDGWRDQVZHU²MXVWDVWKHIHGHUDOJXLGHOLQHVDOORZ7KHFULPLQDOEXUGHQ
    RISURRISURYHGWRRKLJKDEDUULHUIRU-DQHWRPHHWEXWWKHFROOHJH VORZHU
    SUHSRQGHUDQFHVWDQGDUGGHOLYHUHGWKHGHVLUHGRXWFRPHIRUKHU$QG
    -RKQ VH[SXOVLRQZLWKDSRWHQWLDOPDUNRQKLVWUDQVFULSWIRUVH[XDO
    DVVDXOWLVOLNHO\WRUHVXOWLQDOLIHRIGLPLQLVKHGRSSRUWXQLW\7KHUHZHUH
    QRPLVWDNHVDW2FFLGHQWDODQGLI-RKQ VH[SHULHQFHZLWKFROOHJHMXVWLFH
    VRXQGVUHDVRQDEOH²LILWVRXQGVIDLU²WKHQWKLVLVDOOPXFKDGRDERXWVRPH
    NLGJHWWLQJH[DFWO\ZKDWKHGHVHUYHG

    ,IKRZHYHUVRPHWKLQJDERXWWKLVGRHVQ WVRXQGTXLWHULJKWDQGLIWKH/
    $6XSHULRU&RXUWMXGJHXOWLPDWHO\ILQGV-RKQ VVWURQJSRVLWLRQIURPWKH

KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH        Exhibit 77, page 40                    
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 45 of 60 PAGEID #: 3116
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


    KHDULQJLVHQRXJKWRRYHUWXUQ2FFLGHQWDO VUXOLQJWKHQWKHUHZLOOEHPRUH
    DQGPRUHFRQYHUVDWLRQV DQGODZVXLWV DERXWZKHWKHUFROOHJHVZLWKWKHLU
    P\ULDGFRPSHWLQJLQWHUHVWV UHSXWDWLRQDQGUDQNLQJEXLOGLQJHQGRZPHQW
    DQGSURWHFWLQJDWKOHWLFSURJUDPV FDQHYHUEHFRPSHWHQWDQGWUXVWZRUWK\
    VWHZDUGVRIMXVWLFH:KHWKHUHYHU\RQHPLJKWEHEHWWHUVHUYHGE\DEHWWHU
    IXQGHGEHWWHUWUDLQHGSROLFHIRUFHWKDWXVHVDGYDQFHGSROLFHZRUN VHH
    SDJH WRLQYHVWLJDWHDOOFODLPVRIVH[XDODVVDXOW DQGLILWGRHVQ WLW OO
    KDYHWRDQVZHUWRWKHHOHFWHGRIILFLDOVZKRKDYHWRDQVZHUWRYRWHUV 
    :KHWKHUPRUHSURVHFXWRUVPLJKWEHFRQYLQFHGWRVWRSOLPLWLQJ
    WKHPVHOYHVWRVODPGXQNFDVHV²DVPDQ\FULWLFVFODLP²DQGVWDUWWDNLQJ
    PRUHFKDQFHVWRWU\SXWWLQJVH[XDODVVDLODQWVEHKLQGEDUV DQGIDFH
    UHPRYDOIURPRIILFHLIWKH\UHIXVHWRGRVR :KHWKHUFROOHJHVPLJKWEH
    DOORZHGWROHDYHWKHDFWXDOLQYHVWLJDWLRQDQGDGMXGLFDWLRQWRODZ
    HQIRUFHPHQWH[SHUWVZKLOHVWLOOSURYLGLQJVXVWDLQHGRQWKHJURXQG
    VXSSRUWDQGJXLGDQFHIRUWKHDFFXVHUDQGWKHDFFXVHG2ULGHDOO\DOORI
    WKHDERYHDQ\WKLQJWKDWZRXOGWUHDWVH[XDODVVDXOWDVIDUWRRVHULRXVDQ
    DFFXVDWLRQIRUMHUU\EXLOWDGMXGLFDWLRQ²DQGWRRWHUULEOHDQRIIHQVHWRWUHDW
    DVOHVVWKDQDFULPH6XFKDQDSSURDFKZRXOGDOVREHQHILWZRPHQZKR
    GRQ WJRWRFROOHJHDQGIDFHDSHUFHQWJUHDWHUULVNRIEHLQJDVVDXOWHG
    EHWZHHQWKHDJHVRIHLJKWHHQDQGWZHQW\IRXUWKDQGRWKHLUFROOHJH
    DWWHQGLQJSHHUVDFFRUGLQJWRRQHUHFHQWVWXG\RIWKH'HSDUWPHQWRI
    -XVWLFH V1DWLRQDO&ULPH9LFWLPL]DWLRQ6XUYH\GDWDIURPWR




    1RRQHKHUHNQRZV-RKQVD\VILQLVKLQJKLVFKDL+H VHQUROOHGDWD
    FROOHJHQRWIDUIURPWKH6WDUEXFNV²XQOLNHDJUHDWPDQ\RWKHUVFKRROVKH
    ZDQWHGWRDWWHQGWKLVFROOHJHGLGQ WUHTXLUHZKDW VFDOOHGDWUDQVIHU
    UHJLVWUDUUHSRUWIURP2FFLGHQWDOZKLFKZRXOGKDYHLQGLFDWHGKLV
KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH   Exhibit 77, page 41                         
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 46 of 60 PAGEID #: 3117
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


    H[SXOVLRQ +HKDGWRVXSSO\KLVWUDQVFULSWZKLFKEHFDXVHRIWKHRUGHURI
    VWD\IURPWKH6XSHULRU&RXUWLVFOHDQIRUQRZ $QGXQOLNHKLVH[SHULHQFH
    DWWKHVPDOOPLGZHVWHUQFROOHJHKHDWWHQGHGIRUDSSUR[LPDWHO\RQHKRXU
    QRRQH VSKRQHGLQDQDQRQ\PRXVWLS\HW,KDYHQ WEHHQFDOOHGLQWRWKH
    GHDQ VRIILFHEXWLW VDOZD\VLQWKHEDFNRIP\PLQG

    +LVFDVHLVRQWKH/$6XSHULRU&RXUWGRFNHWDWWKHHQGRI0D\,IWKH
    MXGJHILQGVLQKLVIDYRUKLVIDPLO\PD\SXUVXHDGGLWLRQDOOLWLJDWLRQDJDLQVW
    2FFLGHQWDOWRFRYHULWVOHJDOIHHVZKLFKDPRXQWHGWRDVRI
    )HEUXDU\+HVWLOOKDVIULHQGVDWWHQGLQJ2FFLGHQWDOWKRXJKQRWKLVIRUPHU
    URRPPDWH²ZKRGHFOLQHGWRFRPPHQWEXWZKRKDVWUDQVIHUUHGWRDOHVV
    SROLWLFDOO\WR[LFFDPSXV-RKQVD\V²DQGQRQHRIWKHRWKHUZLWQHVVHVIURP
    WKDWQLJKW+HGRHVQ WNQRZZKDWWKH\WKLQNRIKLPLIWKH\WKLQNRIKLPDW
    DOOWKRXJKKHOLNHVWRUHPHPEHUZKDWRQHRIWKHP²-DQH VFORVHIULHQG
    RQHRIWKHIULHQGVZKRSXOOHGKHURXWRI-RKQ VURRPWREHJLQZLWK²WROG
    LQYHVWLJDWRUV,WKLQN-DQHZDVMXVWDVPXFKDSDUWRIWKLVDV-RKQ«6KH
    FRXOGKDYHVDLG 1R RUVKHFRXOGKDYHMXVWQRWUHVSRQGHGWRKLVWH[WVRU
    MXVWQRWJRQHEDFNGRZQWRKLVURRP

    -DQHPHDQZKLOHUHPDLQVDW2FFLGHQWDOWKRXJKWKH/RV$QJHOHV7LPHV
    UHSRUWHGODVWVSULQJWKDWVKHKDGWDNHQVRPHWLPHRIIDQGZDVLQWKHUDS\
    IRUZKDWKHUODZ\HUFKDUDFWHUL]HGDVSRVWWUDXPDWLFVWUHVVGLVRUGHU6KH OO
    OLNHO\EHWKHUHVWLOOWKLVIDOOZKHQDIHZKXQGUHGOXFN\WHHQDJHUVWKH
    2FFLGHQWDOFODVVRIDUULYHRQFDPSXVWKH\HDUVLQIURQWRIWKHP
    ILOOHGZLWKQRWKLQJEXWSRVVLELOLW\

    A FEW QUESTIONS, ANSWERED.
    :KDWDERXWWKHSROLFH"


KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH   Exhibit 77, page 42                         
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 47 of 60 PAGEID #: 3118
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


/DZHQIRUFHPHQWDJHQFLHVKDYHDWHUULEOHUHSXWDWLRQDPRQJYLFWLPDGYRFDWHV
IRUWKHLUXQZLOOLQJQHVVDQGRULQDELOLW\WREXLOGDFDVHDJDLQVWDOOHJHGVH[XDO
DVVDLODQWV$PRQJWKHHIIRUWVWRIL[KRZSROLFHGHSDUWPHQWVKDQGOHVH[XDO
DVVDXOWFDVHVIHZVKRZDVPXFKSURPLVHDV&DUULH+XOO V$GHWHFWLYHZLWKWKH
$VKODQG2UHJRQSROLFHGHSDUWPHQW+XOOODXQFKHGDSURJUDPLQFDOOHG
<RX+DYH2SWLRQVDQGVKH VVHHQVH[XDODVVDXOWUHSRUWVWRWKHSROLFHPRUH
WKDQGRXEOH HVSHFLDOO\DPRQJWKHVWXGHQWVDWQHDUE\6RXWKHUQ2UHJRQ
8QLYHUVLW\ LQMXVWD\HDU<RX+DYH2SWLRQVWDNHVWKHEHVWSDUWVRIZKDWPDQ\
FROOHJHVRIIHUVWXGHQWV²VXSSRUWJXLGDQFHDQGWKHDELOLW\WRVHWWKHVFRSHDQG
SDFLQJRIWKHLQYHVWLJDWLRQ KHQFHWKH2SWLRQV ²DQGFRPELQHVWKHPZLWKWKH
ULJRUVRIDIXOOEORZQSROLFHLQYHVWLJDWLRQ,W VDWUDLQLQJLVVXHIRUODZ
HQIRUFHPHQWVD\V+XOOZKR VFXUUHQWO\LQWRXFKZLWKILIW\WKUHHSROLFH
GHSDUWPHQWVDFURVVWKHFRXQWU\RQ<RX+DYH2SWLRQVWUDLQLQJ<RXKDYHWR
JLYHDQ\ERG\ZKRLVLQWHUYLHZLQJDYLFWLPRIWUDXPDSDUWLFXODUO\VH[XDO
WUDXPDLQGHSWKWUDLQLQJRQKRZWRGRDWUDXPDLQIRUPHGLQWHUYLHZ«7KHQ
\RXKDYHWRDFWXDOO\JHWRXWRI\RXUFKDLUDQGWDNHWKDWUHDOO\JRRGLQIRUPDWLRQ
WKDW\RXRIWHQJHWIURPWKHVHLQWHUYLHZVDQGVWDUWFRUURERUDWLQJLW
%DFNJURXQGFKHFNVRQVXVSHFWVIRUHQVLFLQWHUYLHZVZLULQJDQDFFXVHUVRVKH
PLJKWVXUUHSWLWLRXVO\UHFRUGDFRQIHVVLRQIURPDQDVVDLODQW:H UHQRWGRLQJ
DQ\WKLQJWKDWLVQRWEHLQJGRQHLQDQ\RWKHUFDVHORDG:H UHMXVWXVLQJLW
ZLWKLQDVH[XDODVVDXOWFDVHORDG«7KDW VWKHVWXIIWKH'$QHHGVWREXLOGD
FDVH

    :KDWDERXW<HV0HDQV<HV"

2YHUWKHSDVW\HDU&DOLIRUQLDKDVHQDFWHGDQG1HZ<RUN VJRYHUQRUKDV
SURSRVHGDIILUPDWLYHFRQVHQWODZVIRUFROOHJHVWKDWUHFHLYHVWDWHIXQGLQJDQG
WKHVHVRFDOOHG\HVPHDQV\HVVWDWXWHVUHTXLUHXQDPELJXRXVYHUEDO
DJUHHPHQWEHWZHHQWZRVWXGHQWVEHIRUHDQ\VH[XDODFWLYLW\DVZHOODVEHWZHHQ
KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH   Exhibit 77, page 43                         
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 48 of 60 PAGEID #: 3119
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


YDULRXVOHYHOVRIVH[XDODFWLYLW\6HWWLQJDVLGHKRZUHDOLVWLFVXFKUHTXLUHPHQWV
DUHWKHVHODZVGROLWWOHWRREYLDWHWKHKHVDLGVKHVDLGQDWXUHRIPRVWVH[XDO
DVVDXOWFDVHVDQGWKH\DOVRGRQRWKLQJWRFODULI\WKH+RZPDQ\EHHUVLVWRR
PDQ\"JXHVVLQJJDPHDV5HEHFFD2 &RQQRURI5$,11UHFHQWO\SXWLWWKDW
FORXGVZKHWKHUVRPHRQHLVDEOHWRRIIHUPHDQLQJIXOFRQVHQW(YHQJRLQJVRIDU
DVWRGLFWDWHWKDWDQ\DOFRKROFRQVXPSWLRQLVHQRXJKWRQXOOLI\FRQVHQWZRXOG
DWOHDVWFOHDUXSWKHFRQIXVLRQWKDWDIILUPDWLYHFRQVHQWPHDVXUHVKDYHOHIWLQ
SODFH'UDVWLFPD\EHEXWLPSRVVLEOHWRPLVXQGHUVWDQG

    :KDWDERXWDOFRKRO"

7KHUHDUHJURZLQJHIIRUWVDQGFRXQWOHVVFUHDWLYHLGHDVWRWU\WRPLQLPL]H
DOFRKRO VUROHRQFROOHJHFDPSXVHVDQGWKHSDUWLWSOD\VLQVH[XDOPLVFRQGXFW
:KLOHWKHUHLVRQO\RQHNQRZQFDXVHRIUDSH²UDSLVWV²LWLVLPSRVVLEOHWR
RYHUVWDWHWKHUROHWKDWGULQNLQJWRH[FHVVSOD\VLQSXWWLQJHYHU\ERG\LQYROYHG
LQSRWHQWLDOO\GDQJHURXVVLWXDWLRQV/LPLWEHHUDWVDQFWLRQHGSDUWLHVWRFDQVDV
89$GHFLGHGLQWKHIDOORXWIURPWKH5ROOLQJ6WRQHVFDQGDO%DQKDUGOLTXRU
SHU'DUWPRXWK/RZHUWKHGULQNLQJDJHVRVWDIIRUVHFXULW\SHUVRQQHOFRXOG
VXSHUYLVHSDUWLHV2SHQXSVRURULW\KRXVHVWRWDNHDZD\IUDWHUQLWLHV KRPH
ILHOGDGYDQWDJH(QFRXUDJHPDULMXDQDXVH,ZRXOGQHYHUKDYH>JRQHEDFNWR
-RKQ VURRP@LI,KDGEHHQVREHU-DQHWROGLQYHVWLJDWRUVDQG-RKQVD\V
DOFRKROEDVLFDOO\DQQLKLODWHGKLVEHWWHUMXGJPHQW,W VKDUGWRVD\WKH\ UH
ZURQJ


                    COMMENT
                      -RLQWKHFRQYHUVDWLRQ


                                                                                                    


KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH   Exhibit 77, page 44                         
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 49 of 60 PAGEID #: 3120
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\


                                                        ESQUIRE MARKETPLACE

      01. Men's Short Hairstyles                        04. Healthy Breakfast Ideas     07. Official Credit Report
      02. Take a Depression Test                        05. Early Signs of Cancer       08. Felony Assault
      03. Drug Rehab Facilities                         06. Lose Belly Fat Now          09. 10 Best SUVs


                                                       RECOMMENDED




     Alyssa Arce Is a Woman We Love of                 The Women We Love in 70 Summer   10 New Haircuts for Tom Brady...
     Instagram                                         Bikinis                          and Most Balding Men




                What do you think?
      &RPPHQWV                                                                                  6RUWE\ 1HZHVW




                     $GGDFRPPHQW



                   7RP%URZQ
                   7KLVZDVXQIDLUWR-RKQ, PDOOIRUSXQLVKLQJOHJLWLPDWHFDVHVRIVH[XDODVVDXOWEXWWKLVZDV

KWWSZZZHVTXLUHFRPQHZVSROLWLFVDRFFLGHQWDOMXVWLFHFDVH          Exhibit 77, page 45
                   QRWRQHRIWKHP,02)URPWKHHYLGHQFHSUHVHQWHGKHUHDQGLQRWKHUGHVFULSWLRQVLW VFOHDU
                                                                                                                           
    Case: 1:15-cv-00605-MRB       Doc #: 41-4 Filed: 01/26/16 Page: 50 of 60 PAGEID #: 3121
                            2FFLGHQWDO-XVWLFH7KH'LVDVWURXV)DOORXW:KHQ'UXQN6H[0HHWV$FDGHPLF%XUHDXFUDF\
                   QRWRQHRIWKHP,02)URPWKHHYLGHQFHSUHVHQWHGKHUHDQGLQRWKHUGHVFULSWLRQVLW VFOHDU
                   ZKDWZHQWRQKHUHLI\RXMXVWVZDSKHIRUVKHDQG-RKQIRU-DQH,IWKH\ UHJRLQJWR
                   VWDWHWKDWPXWXDOO\GUXQNVH[WKDWDWOHDVWRQHSDUWQHUUHJUHWVODWHULVDVH[XDODVVDXOWWKHQDW
                   OHDVWEHFRQVLVWHQWDQGH[SHOERWKRIWKHPIRUWKHVDPHWKLQJPXWXDOVH[XDODVVDXOW
                   5LGLFXORXV
                   /LNHā5HSO\ā     ā-XOSP

                   %ULDQ%ODFNā3XUGXH8QLYHUVLW\
                   ,JXHVVWKLVPHDQVZRPHQFDQ WEHKHOGDFFRXQWDEOHIRUD'8,HLWKHU:KHQLVRXUVRFLHW\
                   JRLQJWRJURZDSDLURIEDOOVDQGSXWDVWRSWRWKLVVKLW"
                   /LNHā5HSO\ā     ā$SUSP

                   'DYH6DXHUZHLQ
                   ,ZRQGHULIWKHH[DFWVDPHVLWXDWLRQZHUHSUHVHQWHGZLWKWKHJHQGHUVZDSSHGZKDWZRXOG
                   EHWKHFKDUJHVDQGZKDWZRXOGEHWKHRXWFRPH"
                   /LNHā5HSO\ā     ā$SUSP

                   %LOO3RVHUā0DVVDFKXVHWWV,QVWLWXWHRI7HFKQRORJ\ 0,7
                   ,QDGGLWLRQWRWKHPDQLIHVWLQMXVWLFHWR-RKQ2FFLGHQWDOLVUHVSRQVLEOHIRUWKHWUDXPDWR-DQH
                   -DQHORVWKHUYLUJLQLW\LQDQHQFRXQWHUZKLFKWKRXJKQRWILOOHGZLWKORYHDQGZRQGHUDVRQH
                   PLJKWKRSHZDVFRQVHQVXDODQGUHVXOWHGRQO\LQVOLJKWDZNZDUGQHVV2FFLGHQWDOFRQYLQFHG
                   KHUWKDWVRPHWKLQJWHUULEOHKDSSHQHGDQGFDXVHGWKHWUDXPDIURPZKLFKVKHUHSRUWHGO\
                   VXIIHUV
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                               $P\(6FKZDUW]ā:DVKLQJWRQ'LVWULFWRI&ROXPELD
                               7KLVLVZKDWVWUXFNPHPRVWDVD IHPDOH UHDGHU'RZHUHDOO\ZDQW\RXQJZRPHQWR
                               IHHOWKDWWKHLUILUVWVH[XDOHQFRXQWHUHYHQLIQRWH[DFWO\ZKDWWKH\GUHDPHGRIVKRXOG
                               EHFRQVLGHUHG E\UHVSRQVLEOHDGXOWVDQGFRXQVHORUVDOODURXQGKHU VXFKDWUDXPD
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                   -DQHZDVFRQIXVHGDIWHUWKHHQFRXQWHUDQGKDGVHYHUDOSHRSOHLQFOXGLQJDXWKRULWDWLYHDGXOW
                   VWDIIHUVWHOOLQJKHUVKHKDGEHHQUDSHG,WKLQNPRVWSHRSOH PHQDQGZRPHQ ZRXOGVXIIHU
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  A double-standard on campus sexual
  assault hearings
  By ASHE SCHOW • 7/24/15 12:14 PM


  Across the country, young college men are being accused of
  sexually assaulting young college women based either solely on an
  accusation or occasionally on flimsy witness statements.

  No one is arguing that sexual assaults never happen. But the
  degree to which the definition has been broadened in order to "fix"
  the "epidemic" has ensnared many young students who are not the
  monsters the media would have you believe.

  And the narrative being pushed by activists has been one of black
  and white, good and evil. According to them, accusers, mostly
  women, always tell the absolute truth, and the accused, almost
  universally men, are awful even if proven innocent. That double­
  standard has led to policies that treat accused students as guilty­
  until­proven­innocent. These policies also have to carve out special
  provisions that ensure accusers are innocent of sexual assault even
  when both parties would have a reasonable claim.

   This double­standard has produced policies that state that an
   accuser who has been drinking alcohol (any amount) is absolved of
   anything they willingly consented to that night on the grounds that
   they wouldn't have done so sober. Conversely, accused students
   who were also drunk are not absolved of their decisions.
                                                                                        Exhibit 78, page 1
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  Notice the double­standard? If being drunk means you can't
  consent, presumably a drunk accused student would also be unable
  to consent, meaning that the two students essentially sexually
  assaulted each other. But of course findings such as this won't help
  schools prove to the Department of Education that they take
  accusations seriously, thus the one­sided policies.

  We saw this play out recently at Amherst College, when a student
  who was in an alcohol­induced, black­out state received oral sex,
  only to be accused of sexual assault nearly two years later. The
  woman in that case claimed the accused forced her to perform the
  sexual act after she decided midway through she didn't want to do
  it anymore. The accused student, known as John Doe in the
  lawsuit who has since filed against the school, argued that he
  didn't remember the event since he also blacked out from
  inebriation.

  Amherst's sexual assault policy states that "an individual may
  experience a blackout state in which he/she/they appear to be
  giving consent, but do not actually have conscious awareness or the
  ability to consent." Amherst went out of its way to prove that Doe
  was not in a blackout state when he received oral sex from his
  accuser, writing in its response to Doe's lawsuit that witnesses said
  Doe only looked "pretty drunk" and was able to leave the dorm
  where he was drinking and walk somewhere else using a
  pedestrian sidewalk.

  Amherst quoted Doe's roommate as saying Doe was "function[ing]
  normally," "seemed fine" and did not appear "blacked out." This
  despite Amherst explicitly saying in its policy that one might not be
                                                                                        Exhibit 78, page 2
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  able to tell if someone else is blacked out or not.

  Regardless, Doe's state of drunkenness — and the fact that he
  himself would not have been able to consent to sexual activity –
  did not matter to Amherst. All that mattered was the accuser's
  state of drunkenness and her claim that she withdrew consent at
  some point during the activity. It didn't seem to matter to Amherst
  that text messages from the accuser immediately after the event
  show her to be a willing participant who was in no way considering
  the event a sexual assault.

  To really understand how this double­standard works, one must
  look at another recent example of campus sexual assault, this time
  occurring at Occidental College. In that case again, both students
  were drunk, meaning that if all things were truly equal, neither
  student could consent. But things are not truly equal when it
  comes to campus sexual assault, and even witness testimony that
  the accused student in that case was "slurring his words" and
  "stumbling" over other people did not matter.

  At Occidental, the accused student even tried to bring forward a
  counterclaim of sexual assault in order to prove just how biased
  the system was. The school predictably dismissed his claim, in part
  due to "the timing"; he had filed his complaint after his appeal was
  denied and after he was punished with expulsion. The implication
  of course was that he wouldn't have filed his claim had he not first
  been accused.

  If two people get into a fist fight, both can file charges — there's no
  "first to file" standard. If there is a clear instigator, the charges
                                                                                        Exhibit 78, page 3
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  against them might hold up better. For campus sexual assault, all
  that matters is who accuses — usually the woman, especially if she
  has had feminist professors or Title IX coordinators help her
  reinterpret a drunken hookup as rape.

  That's exactly what happened at Occidental. The accuser, listed as
  Jane Doe in the lawsuit, felt bad about the evening and talked to a
  counselor. Eventually she spoke to Danielle Dirks, a Title IX
  advocate, who listened to Jane's story and told her it was rape.
  Jane responded by saying, "Oh, I am not calling it rape yet." Dirks
  then told her the accused "fit the profile of other rapists on campus
  in that he had a high GPA in high school, was his class
  valedictorian, was on [a sports] team and 'from a good family.'"

  Of course, after hearing this, Jane filed a police report against the
  accused student (listed as another John Doe in his lawsuit). Police
  concluded that the sexual activity was consensual and that both
  students were drunk but appeared — through text messages and
  other evidence — to be able to knowingly consent. Not liking this
  outcome, Jane went to Occidental, whose private investigators
  came to the same conclusion after speaking with multiple
  witnesses.

  Yet Occidental still went ahead with a panel of administrators who,
  despite a police investigation and witness testimony to the
  contrary, found the accused student responsible for violating school
  policy and expelled him.

  In that case, Occidental went out of its way to show that she was
  too incapacitated to consent to sex. This despite text messages
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  showing consent from Jane — who initiated the sexual contact by
  sitting on the accused student's lap and kissing him — and despite
  that she was able to leave her dorm after tricking her roommate
  into thinking she was asleep, walk to another dorm, find the
  accused student's room, all while texting the accused student and
  her friend that she was going to have sex. Also, the accused
  student, who by all accounts was just as drunk, should have known
  this.

  Had this been the previously mentioned fist fight, the clear
  indication that Jane was the initiator would have probably worked
  against her. But in the world of campus sexual assaults, that didn't
  matter.

  So to recap: Schools go out of their way to prove that men who
  have been accused weren't too drunk to consent but that women
  who are accusing were too drunk. Policies are also written to
  ensure there are clear guilty and innocent parties, i.e., that the
  accuser is innocent and the accused is guilty, despite evidence
  showing that both were unable to give consent.

  At some point this double­standard must be addressed — and
  ended.




                                                                                        Exhibit 78, page 5
http://www.washingtonexaminer.com/a­double­standard­on­campus­sexual­assault­hearings/article/2568914                 5/5
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                                                  Exhibit 79, page 3
